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                 EXHIBIT 1
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                         Exhibit 2
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                    UNITED STATES DISTRICT COURT                        EXHIBIT
                   FOR THE DISTRICT OF NEW JERSEY
                                                                      2 XUE 2/3/23 dv




IN RE VALSARTAN, LOSARTAN, AND             No. 1:19-md-2875-RBK
IRBESARTAN PRODUCTS LIABILITY
LITIGATION




                    Expert Report of Fengtian Xue, Ph.D.
                             December 22, 2022
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I.    Overview And Summary Of Opinions
        I have been retained by counsel for Zhejiang Huahai Pharmaceutical Co. (“ZHP”) to offer
expert opinions regarding whether, from an organic-chemistry perspective: (1) ZHP conducted
adequate and appropriate risk assessments, prior to making various changes to the manufacturing
process for its Valsartan active pharmaceutical ingredient (“API”) over time; (2) ZHP conducted
adequate and appropriate testing of its Valsartan API during the time period that the API was
available to customers in the United States; (3) ZHP knew, or reasonably should have known, that
any of the manufacturing processes it used to create Valsartan API could result in the formation of
N-nitrosodimethylamine (“NDMA”) or N-nitrosodiethylamie (“NDEA”); and (4) ZHP acted
appropriately in responding to reports of NDMA/NDEA in its Valsartan API.

        As part of this assignment, I have been asked to review and comment on opinions that have
been offered by various experts retained by the plaintiffs in this litigation, including Stephen
Hecht, Ph.D.,1 Ron Najafi, Ph.D.,2 Laura Plunkett, Ph.D.3 and Susan Bain, DRSc,4 to the extent
those opinions relate to the scope of my work described above.

        My opinions are based on my significant knowledge, training, research and experience in
the field of Organic Chemistry and Medicinal Chemistry, including with respect to the potential
formation of carcinogens as a chemical process. A complete list of the materials that I reviewed
and considered in forming my opinions is set forth in Exhibit A to this report. I also spoke with
three ZHP employees: Min Li, Jucai Ge and Jinsheng Lin.


1
         Expert Report of Stephen S. Hecht, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products Liability
Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New Jersey, July 6, 2021; Expert Report
of Stephen S. Hecht, Ph.D, In Re: Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-
2875-RBK, United States District Court, District of New Jersey, October 31, 2022 (“2022 Hecht Rep.”).
2
         Expert Declaration of Ron Najafi, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products Liability
Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New Jersey, November 4, 2021; Expert
Report of Ron Najafi, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-
2875-RBK, United States District Court, District of New Jersey, October 31, 2022 (“2022 Najafi Rep.”).
3
         Expert Report of Laura M. Plunkett, Ph.D., DABT, In Re: Valsartan, Losartan, and Irbesartan Products
Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New Jersey, October 31,
2022(“Plunkett Rep.”).
4
         Expert Report of Susan Bain, DRSc, In Re: Valsartan, Losartan, and Irbesartan Products Liability
Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New Jersey, October 31, 2022 (“Bain
Rep.”).

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         As set forth in greater detail below, I intend to offer the following opinions in connection
with this case.

         •        ZHP performed reasonable and appropriate scientific risk assessments regarding
                  the relevant manufacturing processes it used to create its Valsartan API given the
                  information reasonably available in the field of organic chemistry at the time;

         •        ZHP performed reasonable and appropriate scientific testing of its Valsartan API
                  for potential impurities during the time that its Valsartan API was available on the
                  market; and

         •        ZHP did not know, and could not have been reasonably expected to know, that the
                  manufacturing processes for its Valsartan API could result in the formation of
                  NDMA or NDEA until it was alerted to the presence of these impurities in its
                  Valsartan API by customer Novartis in 2018.

         I hold these opinions and those set forth below to a reasonable degree of scientific certainty.

II.     Qualifications
         I received my B.S. in Chemistry in 2001 from the University of Science and Technology
of China. During the five years of my undergraduate training, I received multiple awards,
including the Xu-Xin Fellowship (1997), the Japan Shi-Ye-Tong-Xun-Wang Fellowship (1998),
and the USTC First Prize of Excellent Undergraduate Scholarship (1999, 2000, 2001). I was also
the recipient of the Outstanding College Student of the Year for Anhui Province (2001).

         In April 2007, I obtained my Ph.D. in Chemistry from Brown University. While I was
pursuing my doctorate degree, I worked as a Teaching Assistant for five years and supervised more
than 100 undergraduate students in General Chemistry and Organic Chemistry Labs from 2001 to
2005.        At Brown University, my thesis research focused on small-molecule anti-cancer
therapeutics by targeting the serine protease plasmin. During my time at Brown University, I
published seven research articles and was the first author for five of those articles. Such
publications include the 2005 article entitled: “A Comparison of Cyclohexanone and Tetrahydro-
4H-thiopyran-4-one 1,1-dioxide as Pharmacophores for the Design of Peptide-Based Inhibitors of
the Serine Protease Plasmin” in The Journal of Organic Chemistry. The article reported the design,
organic synthesis, and in vitro tests of three pairs of novel compounds as potential inhibitors of the

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serine protease Plasmin. Some of the target molecules synthesized required more than 10 steps of
organic synthesis. In the same year, I published “Selective Inhibitors of the Serine Protease
Plasmin: Probing the S3 and S3’ Subsites Using a Combinatorial Library” in the Journal of
Medicinal Chemistry. In connection with this work, I synthesized and tested a 400-peptide library
to identify new drug-like small molecule inhibitors of Plasmin and routinely used the organic
solvent Dimethylformanide (“DMF”) in my synthesis. I also published “Structure-Activity
Studies of Inhibitors for the Serine Protease Plasmin: Design, Synthesis, and Biological Activity”
in Bioorganic Medicinal Chemistry, “Macrocyclic Inhibitors of the Serine Protease Plasmin” in
Journal of Enzyme Inhibition and Medicinal Chemistry, and “Fluorescent Probes to Study
Serine/Threonine Phosphatase” in Organic Letters. I presented my research results five times at
the National Meetings of the American Chemical Society. During my last year at Brown
University, I was honored as the recipient of the Graduate Dissertation Fellowship.

       From 2007 to 2009, I completed postdoctoral training at Northwestern University in
Professor Richard B. Silverman’s laboratory. My postdoctoral research focused on the synthesis
and characterization of small molecule inhibitors for neuronal nitric oxide synthase (nNOS).
nNOS is an enzyme that produces nitric oxide (NO), which can be converted into nitrosonium ion
(NO+) by losing one electron. Because of the nature of this project, I gained significant expertise
regarding the production and reactivity of NO and other reactive nitrogen species (“RNS”)
including NO+, which is a key reactant for the reactions leading to the formation of nitrosamines
(e.g., NDMA and NDEA), as described below. During this two-year period, I successfully
collected enough data to publish 15 research articles (eight first authors and seven coauthors). In
addition, I was listed as an inventor on six patent applications.

       From 2009 to 2011, I served as an Assistant Professor in the Department of Chemistry at
the University of Louisiana at Lafayette, teaching Organic Chemistry and Organic Chemistry Lab
courses that were required for all chemistry major and pre-med undergraduate students. As a result
of this teaching experience, I have substantial expertise regarding the information that was
common knowledge in the Organic Chemistry and Medicinal Chemistry fields, and what was
included in Organic Chemistry textbooks, during that time period.

       In August 2011, I started my independent research lab at the University of Maryland
Baltimore, where I currently serve as an Associate Professor in the Department of Pharmaceutical


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Sciences. My laboratory has a broad interest in the development of small molecule therapeutics
for important human diseases, including cancer (see, e.g., Cell Report 2013, Org. Lett. 2015, J.
Clin. Invest. 2016, J. Org. Chem. 2017, Org. Biomol. Chem. 2017, J. Med. Chem. 2018 2019 2021,
ACS Med. Chem. Lett. 2019, JCI Insight 2022, Bioorg. Med. Chem. 2022), infections (see, e.g.,
Tetrahedron Lett. 2013 2022, J. Med. Chem. 2013 2016, Bioorg. Med. Chem. Lett. 2018, J. Biol.
Inorg. Chem. 2018, Microb. Pathog. 2019, ACS Infect. Dis 2020, Front. Microbiol. 2021,
Biochemistry 2021), metabolic disorders (see, e.g., Mol. Pharm. 2017, J. Med. Chem. 2019), and
neurodegenerations (see, e.g., Hum. Mol. Genet. 2014, Tetrahedron Lett. 2014, Bioorg. Med.
Chem. 2015, Bioorg. Med. Chem. Lett. 2015, PloS One 2015). Our research projects have been
supported by government agencies (e.g., National Institutes of Health (“NIH”) and National
Science Foundation (“NSF”)), prominent cancer research foundations (e.g., American Association
for Cancer Research (“AACR”) and Leukemia Research Foundation), and industry (e.g., Janssen
Pharmaceuticals).

       I have been a member of the American Chemical Society since 2001. I am also a member
of Sigma Xi, the American Association for the Advancement of Science, the American Association
of Colleges of Pharmacy, the American Association of Pharmaceutical Scientists, and the AACR.
I am an active reviewer for 37 peer-reviewed journals and have served on NIH study sections as
an expert for grant review. To date, I have published more than 85 research articles in the fields
of Organic Chemistry and Medicinal Chemistry. Also, I am an inventor of more than 20 patents
and patent applications on novel discoveries of novel synthetic methodologies and small molecule
therapeutics. As an Organic/Medicinal Chemist for more than 20 years, I have broad training in
organic synthesis, medicinal chemistry, and drug discovery, with specific training and expertise in
designing, synthesizing, and biological characterization of small molecule therapeutics.

       A copy of my Curriculum Vitae (CV) with a complete listing of my educational, teaching,
scholarship, and service activities, is attached as Exhibit B. I am being compensated at the rate
of $300 per hour. My compensation is not contingent upon the outcome of this case or litigation.

III. Overview Of ZHP’s Manufacturing Processes For Valsartan API
       From 2007 to 2018, ZHP employed four distinct manufacturing processes to produce the
Valsartan API used to produce Valsartan-containing drugs (“VCDs”). This section provides a
brief overview of those processes and when they were developed and used.

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          A. The “Tin Process” – DMF No. 020939
        ZHP submitted a Drug Master File5 (DMF #020939) regarding the first process it used to
produce Valsartan API (“Process I,” or the “Tin Process”) on September 24, 2007.6 In the Tin
Process, the crude Valsartan (step #4) for the Valsartan API was produced via the following
chemical processes (Figure 1). First, the CN-starting material was treated with sodium azide
(NaN3) to form the tetrazole compound in the presence of a catalyst tributyltin chloride (Bu3SnCl),
using xylene as a solvent. Then, saponification of the methylester in KOH using xylene yielded
the carboxylate crude product. Finally, the crude product was acidified by aqueous HCl and
purified by crystallization using ethyl acetate.




Figure 1. The crude Valsartan (Step #4) of the Tin process at ZHP.

          B. The “TEA Process” – DMF No. 023491
        On January 22, 2010, ZHP filed its original paper submission with the FDA regarding the
second process it used to produce Valsartan API (“Process II” or the “TEA Process”). 7 On
February 16, 2010, the FDA assigned DMF No. 023491 to Process II.8 The TEA Process used

5
           “Drug master files (DMFs) are submissions to FDA used to provide confidential, detailed information about
facilities, processes, or articles used in the manufacturing, processing, packaging, and storing of human drug
products.” U.S. FDA, Drug Master Files (DMFs) (current as 10/24/2022) (available at
https://www.fda.gov/drugs/forms-submission-requirements/drug-master-files-dmfs). “FDA reviews the technical
contents of DMFs in connection with the review of applications that reference them (e.g., NDAs, ANDAs, INDs,
BLAs).” Id.
6
      (ZHP01660190; ZHP02642306; ZHP01660191; ZHP01661566; ZHP01660621; ZHP01661804;
ZHP01661581; ZHP01660223; ZHP01660321; ZHP01661736; ZHP01660345; ZHP01660532; ZHP01660583;
ZHP01661835; ZHP01661845; ZHP01660092; ZHP01661847; ZHP01661882; ZHP01662029; ZHP01662062;
ZHP01662097.)
7
        (PRINSTON00000008; ZHP01458188.)
8
        (SOLCO00032578.)

                                                         6
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triethylamine (“TEA”) hydrochloride salt (TEA•HCl) as the catalyst for tetrazole formation in the
crude Valsartan (step #4) of the Valsartan manufacturing process (Figure 2, top), instead of
Bu3SnCl.9 It also replaced xylene with toluene as a solvent.10 In the TEA process, the TEA•HCl
is used as the catalyst to avoid the usage of metal-based catalyst Bu3SnCl. This eliminates the
concern of removing the residual amount of metal tin during the production of Valsartan. Also,
the new catalyst TEA•HCl is more cost-efficient than Bu3SnCl.11

         C. The “TEA Process With Quenching” – Amendment-002 To DMF No. 023491
        On April 16, 2012, ZHP submitted Amendment-002 to DMF No. 023491
(“Amendment-002”). 12          Amendment-002 added a quenching procedure after the tetrazole
formation reaction in the crude Valsartan (step #4) of the Valsartan manufacturing process (Figure
2, middle) using sodium nitrite (NaNO2)/HCl solution.13 The molar ratio for the sodium azide
(NaN3) used in the reaction was decreased from 2 to 1.5, although still excess.14 Amendment-002
also involved the replacement of potassium hydroxide (KOH) with sodium hydroxide (NaOH) in
the saponification process.15

        The quenching process using a NaNO2/HCl solution was added to destroy the excess NaN3
used in the tetrazole formation reaction and minimize the risk of Environment, Health & Safety
(EHS) concerns during manufacturing with respect to the possibility of residual azide in the final
drug substance.16 In addition, the change of molar ratio of raw starting material to NaN3 (from 2:1
to 1.5:1) was made to decrease the formation of the impurity D-Valsartan.17 Finally, the change


9
        (ZHP01710671.)
10
        ZHP received a deficiency letter from the FDA regarding DMF No 023491 on October 27, 2010 (the
“October 2010 Deficiency Letter”). (PRINSTON00070492-00070494.) On February 4, 2011, ZHP provided
response to the October 2010 Deficiency Letter, which included Amendment-001 to DMF No. 023491
(“Amendment-001”). (PRINSTON00070492-00070569.) Amendment-001 responded to the October 2010
Deficiency Letter’s concerns.
11
        (ZHP01710671.)
12
        (PRINSTON00079747-PRINSTON00079755.)
13
        (PRINSTON00079751.)
14
        (PRINSTON00079752.)
15
        (Id.)
16
        (PRINSTON00079752.)
17
        This belongs to a type of organic reaction named racemization (Figure S1), in which the orientations of two
chemical bonds (highlighted in red) are inverted. Racemization results in formation of the impurity D-Valsartan.

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of KOH to NaOH in the saponification process was a non-functional replacement intended to
address the cost of the manufacturing process.18




Figure S1. Formation of the impurity D-Valsartan through the racemization reaction of Valsartan.
The reaction center is labeled by “*”. The chemical bonds that are inversed during the reaction
are shown in red.

        Following the implementation of the changes set forth in Amendment-002, ZHP
distinguished the TEA Process into two subcategories—“without quenching” (original “Process
II” prior to Amendment-002) and “with quenching,” which referred to product made using the
process identified in Amendment-002.19

         D. The “Zinc Chloride (ZnCl2) Process” – Amendment-004 To DMF No. 023491
        On December 10, 2013, ZHP submitted Amendment-004 to DMF No. 023491
(“Amendment-004”). 20 Amendment-004 changed the catalyst reagent amine salt TEA•HCl to
ZnCl2 for the tetrazole formation in the crude Valsartan (step #4) and changed the solvent toluene
to dimethylformamide (DMF) for the tetrazole formation reaction (Figure 2, bottom). 21
Amendment-004 also changed the crude Valsartan (step #4) of the manufacturing process such
that, after the tetrazole reaction, quenching occurred in the presence of a newly-added solvent
methyl tertiary butyl ether (“MTBE”), providing better solubility for the in-situ intermediate to



18
        (Id.)
19
        (PRINSTON00079751.) On March 1, 2013, ZHP submitted its Annual Report to the SEC as well as
Amendment 003 to DMF No. 023491 (“Amendment 003”). (PRINSTON00000009; PRINSTON00072212 and
PRINSTON00072213-PRINSTON00072225.) The change summary in the Annual Report noted that while
Amendment 003 proposed several changes to the equipment used in the manufacturing process, and a non-substantive
format change to the product’s label, “the manufacturing process ha[d] not changed.” (PRINSTON00072212.)
20
        (PRINSTON00000009; PRINSTON00073120; PRINSTON00073102-PRINSTON00073119.)
21
        (PRINSTON00073104-PRINSTON0073108.)

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avoid emulsification disturbing the liquid delamination and separation processes. 22 Following
Amendment-004, ZHP’s manufacturing process for Valsartan API was as follows (Figure 2,
below):




Figure 2. Comparison of the TEA process without quenching (top), TEA process with
quenching (middle), and ZnCl2 process (bottom) for the crude Valsartan step (#4).

       Per ZHP documents, the usage of ZnCl2 as a catalyst in the tetrazole formation reaction of
the crude Valsartan (step #4) yielded a dramatic improvement in the conversion of the tetrazole
formation reaction and significantly increased the crude process output. 23           In addition,
optimization of the hydrolysis process in the crude Valsartan (step #4) not only helped to decrease



22
       (PRINSTON00000005-PRINSTON00000006.)
23
       (PRINSTON00074781.) [Chinese]

                                                9
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the formation of the impurity D-Valsartan (Figure S1), 24 but also helped to minimize the
remaining of the unhydrolyzed Valsartan methylester in the crude Valsartan (step #4) (Figure S2)
and, as a result, provided a better overall yield of the reaction.25




Figure S2. Under the NaOH-mediated hydrolysis conditions, some Valsartan methylester cannot
be converted into the crude Valsartan and remains in the reaction mixture as unhydrolyzed
Valsartan methylster.     The ester group in the Valsartan methylester starting material and
unhydrolyzed Valsartan methylester are shown in blue. The hydrolyzed product (-COOH) is
shown in red.

IV. Overview Of Nitrosamines And Nitrosamine Formation
        Nitrosamines (general structure shown in Figure 3A) are organic molecules with a nitroso
group (Figure 3A, orange) connected to a deprotonated amino group (Figure 3A, blue) through a
single bond (Figure 3A, black line between the two N atoms). “A” and “B” are both alkyl groups,
referring to organic functional groups that contain only saturated hydrocarbon chains.      For
example, NDMA (N-nitrosodimethylamine, Figure 3B) is the N-nitrosamine with both alkyl
groups “A” and “B” as methyl, while NDEA (N-nitrosodiethyl-amine, Figure 3B) is the N-
nitrosamine with both alkyl groups “A” and “B” as ethyl.




24
        (PRINSTON00074782; ZHP02220191; ZHP02220239.) [Chinese]
25
        (PRINSTON00074782.) [Chinese]

                                                  10
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Figure 3. A. General chemical structure of N-nitrosamines. B. Chemical structures of NDMA
and NEDA.

        Humans are exposed to nitrosamines such as NDMA and NDEA on a daily basis. These
nitrosamines are widely present at low levels in water and food (e.g., dairy products, meat, and
vegetables). According to the FDA, “[n]itrosamines are common in water and foods, including
cured and grilled meats, dairy products and vegetables,” and “[e]veryone is exposed to some level
of nitrosamines.”26

        Amines are ammonia (NH3) derivatives in which one or more H (hydrogen) atoms are
substituted by an alkyl group (Figure 4A). Depending on the number of alkyl substituents on the
N-atom, amines can be classified into primary (1o), secondary (2o), tertiary (3o), and quaternary
(4o) amines. As shown in Figure 4B, ethylamine is an example of a primary amine, dimethylamine
(5) is an example of secondary amine, TEA is an example of tertiary amine, and
tetraethylammonium chloride is an example of quaternary amine.




Figure 4. A. General chemical structure of amines. A, B, C, and D represent alkyl groups. B.
Examples of primary amine propylamine, secondary amine dimethylamine (5), tertiary amine
TEA, and quaternary amine tetrabutylammonium chloride.

        N-Nitrosamines such as NDMA and NDEA can be produced by an organic reaction
between an amine and nitrous acid that is formed from sodium nitrite (NaNO2) under acidic
conditions. As an example, the mechanism for the formation of NDMA is detailed in Figure 5.
In an acidic environment such as aqueous HCl, NaNO2 (1) reacts with HCl to generate nitrous acid


26
         U.S. FDA, Information about Nitrosamine Impurities in Medications (current as of 11/18/2021) (available at
https://www.fda.gov/drugs/drug-safety-and-availability/information-about-nitrosamine-impurities-medications).

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(2) along with sodium chloride (NaCl). Further reaction of nitrous acid with HCl will produce the
protonated nitrous acid (3), which then loses a molecule of water (H2O) to yield the nitrosonium
ion (4, NO+). NO+ is a nitrosating agent that reacts with the nitrogen atom in dimethylamine (5)
to yield the product NDMA.




Figure 5. Mechanism for the formation of NDMA from NaNO2 and dimethylamine.

        Some nitrosamines can be activated in vivo to form a DNA-alkylating agent. Nitrosamines
themselves are not causative agents in human cancer. In vivo, nitrosamines must be activated
through an a-hydroxylation reaction catalyzed by the cytochrome P450 enzymes (Figure 6). For
example, when NDMA binds into the active site of P450 enzyme CYP2E1,27 a hydroxylation
reaction takes place at the -carbon of NDMA (Figure 6), to yield the hydroxy compound 6.
Compound 6 eliminates a formaldehyde (HCHO) to produce compound 7. Protonation of
compound 7 generates compound 8, which undergoes a dehydration reaction (losing a water
molecule) to yield alkyldiazonium ion 9, a DNA alkylating agent. Reaction of methyldiazonium
ion 9 with the nucleophilic atoms (such as N atoms on nucleobases of DNA sequences) leads to
the formation of a methyl-DNA adduct.




Figure 6. In vivo cytochrome P450-mediated activation of NDMA to produce the DNA alkylating
methyldiazonium ion (9).

27
         Fujita K, Kamataki T. (2001) Role of human cytochrome P450 (CYP) in the metabolic activation of N-
alkylnitrosamines: application of genetically engineered Salmonella typhimurium YG7108 expressing each form of
CYP together with human NADPH-cytochrome P450 reductase. Mutat. Res., 483(1-2), 35-41.

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        The P450-mediated hydroxylation activation is not a universal reaction for nitrosamines.
As depicted in Figure 6, a nitrosamine leads to the generation of a DNA-alkylating alkyldiazonium
ion (such as methyldiazonium ion 9 from NDMA) only when the required P450-catalyzed
hydroxylation reaction happens on the -carbon of the nitrosamine. To achieve a successful
hydroxylation reaction at the -carbon, the nitrosamine (#1, Figure 7A) must: (1) have a scaffold
that can fit into the active site of the P450 enzyme; and (2) effectively expose its -carbon (labeled
in green, Figure 7) to the activated hydroxy group in the active site of the P450 enzyme. On the
other hand, a nitrosamine (#2) that cannot fit into the active site of the P450 enzyme (Figure 7B)
or a nitrosamine (#3) that cannot expose its -carbon to the enzyme-activated hydroxy group after
binding (Figure 7C) will not receive a hydroxy group at its -carbon.                       As a result, the
corresponding DNA-alkylating agent alkyldiazonium ion will not be formed. Overall, it is not
reasonable to assume all nitrosamines can lead to a DNA-alkylating agent. As an example, it has
been reported that N-nitrosoproline (Figure 7D) is not metabolized in vivo28 and is non-mutagenic
and non-carcinogenic.29




28
        Chu C, and Magee PN (1981) Metabolic fate of nitrosoproline in the rat. Cancer Res., 41, 3653-3657.
29
        IARC (1978) IARC Monographs on the evaluation of the carcinogenic risk of chemicals to humans. Vol.
17, Some Nitroso Compounds. IARC Scientific Publications, Lyon.

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Figure 7. A. Binding model of nitrosamine #1 for successful P450 hydroxylation-mediated
activation. B. Nitrosamine #2 cannot fit into the active site of P450. C. Nitrosamine #3, although
it can fit into the active site of P450 enzyme, cannot expose its -carbon in a close proximity to
the activated hydroxy (OH) group in the active site of P450. D. The chemical structure of N-
nitrosoproline.

        A. Nitrosamine Formation From Secondary Amines (Dimethylamine)
       N-Nitrosamines such as NDMA and NDEA can be produced by an organic reaction
between an amine and nitrous acid that is formed from sodium nitrite (NaNO2) under acidic
conditions. As an example, the mechanism for the formation of NDMA is detailed in Figure 5,
above. Although the method of nitrosamine formation from a secondary amine and nitrous acid




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(sodium nitrite + inorganic acid) generally has been documented in the literature,30 in the past
several decades, little progress has been made and only a few alternative nitrosating agents have
been reported for different reaction environments.

         For instance, under acidic conditions (pH <=3), the nitrosating agent can mainly be
dinitrogen trioxide (N2O3) or nitrosyl halide besides NO+, 31 while under basic or neutral
conditions, effective nitrosating agents include nitroprusside (e.g., sodium nitroprusside)32 or alkyl
nitrites (RO-N=O). 33 Other nitrosating agents, such as nitrogen tetroxide, 34 oxyhyponitrite, 35
Fermy’s salt, 36 N-haloamides, 37 and oxalic acid 38 have also been reported. Moreover, a small
                                                                                                                    39
number      of    heterogeneous        systems      employing       acidic     reagents     (e.g.,    Nafion-H,
trichloroisocyanuric acid,40 and tungstate sulfuric acid (TSA)41) in combination with NaNO2 have
also been used.

         I learned of the possibility of a nitrosamine formation reaction from nitrosomium ion (NO+)
and a secondary amine because of the nNOS inhibitor project that I worked on as a postdoc at
Northwestern University. Since then, however, I have not encountered any opportunity to teach
this reaction in either my undergraduate courses (e.g., Organic Chemistry I and Organic Chemistry
II) and or my graduate-level courses (e.g., Organic Synthesis in Drug Design and Medicinal

30
         Datin RC, Elliott GA. (1964) Synthesis of nitrosodimethylamine. US PCT #US3136821A.
31
       Williams, D. L. H. Nitrosation Reactions and the Chemistry of Nitric Oxide, 1st ed.; Elsevier Science:
Amsterdam, Oxford, 2004.
32
         Touster, O. Determination of keto–enol equilibrium constants and the kinetic study of the nitrosation reaction
of b-dicarbonyl compounds. In Organic Reactions; Wiley: New York, 1953; vol. 7, chapter 6.
33
         Garcia Rio, L.; Leis, J. R.; Iglesias, E. Nitrosation of amines in nonaqueous solvents, 1: Evidence of a
stepwise mechanism. J. Org. Chem. 1997, 62, 4701.
34
         Makhova, N. N.; Karpov, G. A.; Mikhailyuk, A. N.; Bova, A. E.; Khamel_nitskii, I.; Novikov, S. S. (1978)
Izv. Akad. Nauk. SSSR, Ser. Khim., 1, 226.
35
         Chang, S. K.; Harrington, G. W.; Rothstein, M.; Shergalis, W. A.; Swern, D.; Vohra, S. K. (1979) Cancer
Res. 39, 3871.
36
         Castedo, L.; Riguera, R.; Vezquez, M. P. (1983) J. Chem. Soc., Chem. Commun., 301.
37
         Nakajima, M.; Warner, J. C.; Anselme, J. P. (1984) Tetrahedron Lett., 25, 2619.
38
         Zolfigol, M. A. (1999) Synth. Commun., 29, 905.
39
         Zolfigol, M. A.; Habibi, D.; Mirjalili, B. F.; Bamoniri, A. (2003) Tetrahedron Lett., 44, 3345.
40
         Zolfigol, M. A.; Ghorbani-Choghamarani, A.; Hazarkhani, H. (2002) Synlett, 1002.
41
        Bahador Karami, Morteza Montazerozohori, and Mohammad Hossein Habibi (2005) Tungstate Sulfuric Acid
(TSA) / NaNO2 as a Novel Heterogeneous System for the N-Nitrosation of Secondary Amines under Mild Conditions.
Bull. Korean Chem. Soc., 26(7), 1125.

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        It is also reported in Armarego (1996 (Edition 4th) 2009 (Edition 6th)) that “DMF
decomposition is catalyzed by acidic and basic materials, so that even at room temperature, DMF
is appreciably decomposed if allowed to stand for several hours with solid KOH, NaOH, CaH2.”45
However, solid KOH, NaOH, CaH2 represent strong bases, which create an unusually strong basic
environment around the solid base themselves. In my opinion, the reaction condition of the crude
Valsartan (step #4) in the ZnCl2 process was neutral and is dramatically different from the strong
basic conditions in the presence of solid bases KOH, NaOH, CaH2. I have not seen evidence that
acidic condition would catalyze the decomposition of DMF. During the quenching process of the
ZnCl2 process, the pH value was adjusted to <=3.46 The solvent DMF is generally known to be
stable under this weakly acidic condition.

         B. Nitrosamine Formation From Tertiary Amines (TEA)
        Distinct from secondary amines, reaction of tertiary amine with nitrosonium ion (NO+)
involves a much more complicated mechanism and the overall reaction, therefore, is dramatically
slower.47,48 As an example, formation of NDEA from TEA is detailed in Figure 9. TEA must
first react with NO+ (4, see Figure 5, above) to generate a nitroso-compound (10). The nitroso-
compound (10) slowly eliminates a nitroxyl (HNO) molecule,6,7 to generate the iminium chloride
compound (11). Addition of a water molecule to the iminium ion (11) gives the hydroxylated
intermediate (12), which then eliminates an acetaldehyde (13) to yield diethylamine (5a), a
secondary amine that is analogous to dimethylamine (5, see Figure 5, above). Similar to
dimethylamine 5, diethylamine 5a can be nitrosated by NO+ (4) to finally produce the nitrosamine
NDEA. Overall, the mechanism of NDEA formation from TEA takes four more steps than that of
NDMA formation from dimethylamine.




45
        (Armarego (1996 (Edition 4th)), Page 206.
46
        (ZHP02579969.)
47
        Smith PAS, Loeppky RN. (1967). Nitrosative cleavage of tertiary amines. J. Am. Chem. Soc. 89, 1147-1157.
48
        Smith PAS, Pars HG. (1959). Nitrosative cleavage of N’,N’-dialkhylhydrazides and tertiary amines. J. Org.
Chem. 24, 1325-1332.

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Figure 9. Mechanism for the formation of NDEA from nitrosonium ion (4, NO+) and TEA.

           The nitrosation reactions of tertiary amines (e.g., TEA) were far less known than those of
secondary amines (e.g., dimethylamine and diethyamine). Historically, there has been argument
as to whether tertiary amines react with nitrous acid.49 A literature search related to the synthetic
method to the production of NDEA from TEA on SciFinder 50 only generated 10 known
publications. Common reactions are typically reported in tens of thousands of publications.
Moreover, none of these journal articles addresses the use of nitrous acid (or sodium nitrite +
inorganic acid) and TEA to produce NDEA. Instead, all the published methods included a special
nitrosating reagent such as the Fremy’s salt,51 nitric acid/acetic anhydride,52 N2O3,53 and N2O454 to
facilitate the formation of NDEA. It is worth noting that, at low pH, a tertiary amine (e.g., TEA)




49
           Hein GE. (1963) the reaction of tertiary amines with nitrous acid. J. Chem. Educ. 40(4):181.
50
         SciFinder is produced by Chemical Abstracts Service (CAS). It is the most comprehensive database for the
chemical literature. SciFinder can search by topic, author, substances (by name or CAS Registry Number). In
addition, one can also use the editor feature to draw chemical structures, substructures, or reactions. SciFinder is a
core research tool for chemistry, chemical engineering, materials science, and other science and engineering
disciplines.
51
           Castedo, Luis; et al, (1983) Fremy's salt (potassium nitrosodisulfonate): a nitrosating reagent for amines. 6,
301-302.
52
           Boyer JH, Pillai TP, Ramakrishnan VT. (1985) Nitrosamines and nitramines from tertiary amines. Synthesis,
677-679.
53
        Rosadiuk, Kristopher A.; et al, (2018) Isolable Adducts of Tertiary Amines and Dinitrogen Trioxide.
European Journal of Inorganic Chemistry, 41, 4543-4549.
54
         Boyer, Joseph H.; et al, (1985) Nitrosamines from tertiary amines and dinitrogen tetraoxide. Journal of the
Chemical Society, Perkin Transactions 1: Organic and Bio-Organic Chemistry (1972-1999), (8), 1661-4; Iranpoor,
Nasser; Firouzabadi, Habib; Pourali, Ali. (2005), Dinitrogen tetroxide-impregnated charcoal (N2O4/Charcoal).
Selective nitrosation of amines, amides, ureas, and thiols. Synthetic Communication, 35(11), 1517-1526.

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forms an unreactive ammonium salt due to the protonation of the amino nitrogen atom. As a result,
usually no reaction can be detected in cold diluted reaction mixture.

V.    ZHP Performed Adequate Risk Assessments For The Various Routes Of Synthesis It
      Used To Manufacture Valsartan API Given What Was Reasonably Known At The
      Time Of Manufacture.
        As set forth above, ZHP utilized several different processes to manufacture its Valsartan
API from 2007 to 2018.55 ZHP filed Drug Master File amendments with the FDA documenting
each of those manufacturing processes that included assessments of the risks of the process and
results of chromatography testing documenting impurities resulting from the process.56 Based on
my review of plaintiffs’ experts’ reports, none of plaintiffs’ experts has identified any concerns
raised by the FDA in response to these Drug Master File amendments or any subsequent filings
with the FDA regarding Valsartan medications that incorporate the Drug Master File.

        Plaintiffs’ experts, including, but not limited to, Drs. Hecht and Najafi, assert that ZHP’s
risk assessments for the TEA process with quenching 57 and ZnCl2 process 58 were inadequate
because ZHP failed to specifically investigate whether either of these processes was capable of
resulting in the formation of nitrosamines.59 But the experts’ opinions are based on present-day
scientific knowledge regarding complex chemistry processes that can result in nitrosamine
formation – not what was reasonable or expected a decade ago. Chemistry is an evolving science
that is constantly changing as new technologies and testing develop over time. As an example, the
Huisgen cycloaddition reaction was first introduced by Rolf Huisgen in 1960.60 However, in the



55
        (PRINSTON00000008-PRINSTON00000009.)
56
        (See PRINSTON00000027 (noting the submission of Process I (DMF No. 020939) to the FDA);
PRINSTON00000008; ZHP01458188 (submission of Process II (DMF No. 023491)          to the FDA);
PRINSTON00079747-PRINSTON00079755 (submission of Amendment-002 to DMF No. 023491, which added
quenching      to    the    TEA        Process);     PRINSTON00000009;      PRINSTON00073120;
PRINSTON00073102-PRINSTON00073119 (submission of Amendment-004 to DMF No. 023491, which replaced
TEA with ZnCl2).)
57
        (PRINSTON00079747.)
58
        (PRINSTON00073102.)
59
          (See 2022 Hecht Rep.at 2 (“ZHP was not looking for NDMA or NDEA because they failed to perform a
straightforward assessment of the chemistry.”); 2022 Najafi Rep. at 26 (“HNO2 is plentiful in [ZnCl2 Process Step 4]
reaction and the manufacturer did not heed the obvious risk of nitrosamine formation.”).)
60
        Breugst M, Reissig H-U. (2020). The Huisgen reaction: Milestones of the 1,3-dipolar cycloaddition. Angew.
Chem. Int. Ed. 59, 12293.

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next 40 years after its discovery, this reaction was not known among life scientists until Barry
Sharpless described the potential application of this old reaction in modification and labeling of
specific biomolecules in 2001. Since then, tremendous success has been achieved around this
reaction, which has been highlighted by the Award of the 2022 Nobel Prize in Chemistry. It is not
possible for any chemist to detect all possible impurities that may ever be found to result from a
chemical process at some point in the future. Instead, chemistry researchers assess chemical
processes for potential impurities that are reasonably expected or suspected to occur based on the
scientific knowledge available at the time of inquiry. Similarly, organic process chemists in the
pharmaceutical industry responsible for developing drugs and drug manufacturing processes must
assess the route of synthesis for the potential formation of impurities that can be reasonably
expected or suspected based on the scientific literature and knowledge reasonably available at the
time.

        At the time ZHP was developing and using the ZnCl2 process and the TEA process with
quenching, it was not common knowledge among general chemists or the chemistry community
that either of these processes could result in the formation of nitrosamines such as NDMA or
NDEA during either the reaction or the quenching procedure. As a result, ZHP conducted a proper
evaluation of the ZnCl2 process and the TEA process with quenching based on the scientific
knowledge available.

        A. ZHP Performed An Appropriate And Reasonable Risk Assessment For The
           ZnCl2 Process.
        A review of company documents and regulatory filings makes clear that ZHP properly
conducted a lengthy, multi-phase investigation of the risks of the ZnCl2 process before it was used
to manufacture Valsartan API. Plaintiffs’ experts are incorrect that this entire investigation was
deficient because ZHP did not specifically investigate the possibility of NDMA formation. As set
forth below, the formation of NDMA is the result of a multi-step chemical process. With respect
to the ZnCl2 manufacturing process, the NDMA formation first requires the degradation of the
DMF solvent used in the ZnCl2 process into dimethylamine (5, see Figure 5, above), which then
reacts with NO+ (4, see Figure 5, above) generated from nitrous acid (see Figure 5, above). But
plaintiffs’ experts have presented no evidence that such DMF degradation – which plaintiffs’
experts assert had been documented at the boiling point of DMF – was expected or even possible
at the lower temperatures (135 oC) used for the ZnCl2 process.

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                    1. ZHP Properly Conducted A Multi-Step Risk Analysis For The ZnCl2
                       Process.
       Beginning on November 27, 2011, ZHP conducted a self-evaluation and assessment by the
ZHP Change Initiate Department.61 First, the technical department requested the process change
for the Valsartan ZnCl2 process (change control # PCRC-11025).62 The assessment included: (1)
process changes content evaluation; (2) suitability of specifications and analytical methods of
intermediates and final substance evaluation; (3) manufacturing equipment evaluation; (4)
assessment via lab-scale process research and development studies; and (5) quality risk
assessment.63 Specifically, the assessment compared use and quantity change of raw materials,
synthetic routes, process description and critical process parameters between the processes.64

               i.        Raw Material Evaluation Before And After Change. During the process
       change, changes were only made in the materials used for acylation and crude product steps
       (Table 1a-1 below from ZHP).65 Specifically, in the acylation step, the acid binding agent
       was changed from potassium carbonate (K2CO3) to the mixture of sodium carbonate
       (Na2CO3) and sodium hydroxide (NaOH).66 In the tetrazole forming reaction, DMF was
       used as the solvent to replace toluene and ZnCl2 was used as the catalyst to replace TEA•
       HCl. In the quenching process, MTBE was added as a solvent.67




61
       (ZHP02579962.)
62
       (Id.)
63
       (Id.)
64
       (ZHP02579962-ZHP02579965.)
65
       (ZHP02579963.)
66
       (ZHP02579965.)
67
       (ZHP02579967.)

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          ii.      Main Material Charging Evaluation Before And After Change. No
     change was made in the quantities of main materials (Table 1a-2 below from ZHP).68




68
     (ZHP02579964-ZHP02579965.)

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         iii.      Synthetic Route And Process Comparison Before And After Change.
     In the tetrazole forming reaction, DMF was used as the solvent to replace toluene, and
     ZnCl2 was used as the catalyst to replace TEA• HCl, as shown in Figure 1a-2, Figure 1a-
     3, and Table 1a-3 below from ZHP.69




69
     (ZHP02579966-ZHP02579969.)

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         vi.       Manufacturing Facility And Equipment Evaluation.             Because the
     quantities of main materials and the batch size were not changed, the previous equipment
     was used for production, as detailed in the following table from Table 1a-8 from ZHP.73




73
     (ZHP02579973-ZHP02579974.)

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         vii.       Assessment In Lab-Scale Research And Development Study. The lab-
     scale process research and development for the changes in crude Valsartan (step #4),
     including solvent selection and catalyst selection for the tetrazole forming reaction, and the
     experiment design for saponification temperature were evaluated, as detailed in the
     following Figures 1a-4 to 1a-6 from ZHP.74




74
     (ZHP02579977-ZHP02579978.)

                                              31
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         In addition, ZHP conducted a change committee assessment and QA final approval.78 The
process change for Valsartan ZnCl2 process (PCRC-11025) was proposed by the technical
department and evaluated. 79 The process change was then submitted to a change control
committee (consisting of a technical department, production department, QC department, EHS
department, engineering department, regulatory affairs department and QA department) to conduct
the change risk review. The change control committee supplemented a risk assessment of the
Valsartan process change request (PCRC-11025) as detailed in the following Table 1a-11 from
ZHP.80




78
         (ZHP02579986.)
79
         (ZHP02579986.)
80
         (ZHP02579986.)

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       After the change control committee passed the evaluation of the Valsartan process change
request (PCRC-11025), it was approved by QA, and five action items were established, as shown
in the following Table 1a-13 from ZHP.81




81
       (ZHP02579987.)

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       Overall, ZHP conducted a comprehensive and complete risk assessment for Change
Request PCRC-11025 to study the potential impact of proposed changes on the quality of the
intermediates or the final API for this process change.

       It is clear from the records documenting ZHP’s multi-step assessment of the ZnCl2 process
that the goal of this change was to improve the manufacturing process for Valsartan API.
Specifically, ZHP sought to improve the conversion of the tetrazole formation in the crude
Valsartan (step #4). According to ZHP records (“Table 5-6. Optimization Experiments Result
for Tetrazole Formation”), the conversion of intermediate 3 (the CN-starting material of the
tetrazole formation reaction) was improved from 58.3% in the TEA process to 94.9% in the ZnCl2
process.82 ZHP performed quality risk evaluation on impurities for all the steps before and after
the change from the TEA process to the ZnCl2 process.83 For each of the steps, the evaluation was
conducted with regard to organic/inorganic impurities (including intermediates, by-products, and
starting raw material) and solvents (including toluene, DMF, MTBE, and ethyl acetate). In
particular, the residual quantity of new material ZnCl2, new solvent DMF, and MTBE were
carefully followed during the reaction.




82
       (ZHP00245062.)
83
       (ZHP00245064.)

                                                  39
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       Plaintiffs’ expert Najafi opines that ZHP should have determined the risks because
“Knowledge of basic organic chemistry suggests that changes to the chemical reagents of a
reaction would alter the degradant/by-product profiles requiring such risks to be critically
evaluated. ZHP failed to conduct a thorough risk-based evaluation of the possible formation of
nitrosamines resulting from their proposed process changes.”92 When the reaction condition is
modified, the by-product profile change is possible. However, in ZHP’s ZnCl2 process, the
tetrazole formation reaction using ZnCl2 as a catalyst is well-documented in the literature. In fact,
a literature search related to the synthetic method to the production of tetrazoles using ZnCl2 as a
catalyst on SciFinder generated at least 28 reports, nine of which used DMF as the solvent for the
tetrazole formation reaction. Importantly, none of these nine examples mentioned any side
reaction caused by the decomposition of the DMF solvent.

       In short, plaintiffs’ experts have not identified any evidence that, at the time when ZnCl2
process was developed and used, it was reported in the literature that DMF could degrade into
dimethylamine in the reaction conditions present in the ZnCl2 process. And plaintiffs’ experts
certainly have not made a showing that, as of 2011 when ZHP began assessing the ZnCl2 process,93
it was widely known or expected throughout the field of chemistry that DMF degrades in the
conditions used to manufacture Valsartan API. As a result, there is no scientific support for
plaintiffs’ experts’ assertions that ZHP should have expected that a secondary amine such as
dimethylamine would result from the use of DMF solvent in the reaction process. And without a
secondary amine, NDMA and other nitrosamines cannot form. In other words, without knowing
the possible formation of dimethylamine in the ZnCl2 process via the decomposition of DMF
solvent, there was no means to have a secondary amine generated in the reaction. Therefore, in
my opinion, ZHP would not have reasonably foreseen the formation of a nitrosamine impurity.

       Second, even if a secondary amine were an expected part of the ZnCl2 process, nitrosamine
formation from nitrous acid and secondary amine is a documented but rather uncommon reaction
that even experienced chemists may not have learned – and was not generally known in the field
of chemistry a decade ago. While this reaction was brought to my personal attention as a result of
my significant work on an nNOS inhibitor project at Northwestern University, this is an area of


92
       (2022 Najafi Rep. at 27; see also id. at 24.)
93
       (See, e.g., ZHP01843066-ZHP01843067.)

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particularized research that is not, as plaintiffs’ experts suggest, basic chemistry.94 I have been a
professor of Chemistry for 13 years and have never once in that time taught this reaction in either
my undergraduate (e.g., Organic Chemistry I and Organic Chemistry II) or graduate courses (e.g.,
Organic Synthesis in Drug Design and Medicinal Chemistry). In addition, in the past 11 years
working in my own research lab and studying potential carcinogens, I have never used this reaction
in any of my projects.

         In light of the above, it is reasonable and appropriate that ZHP would not have known,
even after its complete and appropriate risk assessment, about the possibility of the formation of
the secondary amine dimethylamine that could potentially react with nitrous acid to form
nitrosamine NDMA. As a result, the fact that ZHP did not specifically investigate the potential
for NDMA formation does not render the company’s risk assessment for the ZnCl2 process
inadequate.

          B. ZHP Performed Reasonable And Appropriate Risk Assessments For The TEA
             Process With Quenching.
         A review of company documents and regulatory filings makes clear that ZHP properly
conducted a multi-phase investigation of the risks of the TEA process with quenching before the
process was used to manufacture Valsartan API. Plaintiffs’ experts lack scientific support for the
notion that it was well documented that the reaction of a tertiary amine TEA and nitrous acid
(NaNO2 + HCl solution) would produce NDEA (see Figure 9, above) at the time when the TEA
process with quenching was analyzed. Even today, a review of the relevant literature makes clear
that such a reaction is complex and was not easily foreseeable.

                   1. ZHP Properly Conducted A Multi-Step Risk Analysis For The TEA
                      Process With Quenching.
         The synthetic route of the TEA process with quenching is shown in Figure 10 below.
Compared to the previous TEA process without quenching, several changes were made.




94
           (See, e.g., 2022 Najafi Rep. at 7 (“Basic chemistry principles instruct us that secondary amine in the presence
of nitrite and acid predictably and readily react to produce genotoxic nitrosamines such as NDMA and NDEA.”); 2022
Hecht Rep. at 7 (“ZHP simply ignored or didn’t understand this basic chemistry.”).)

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Figure 10. The synthetic route of the TEA process with quenching.

1. Both Steps 1 and 2 (Figure 10, above) were optimized to lower the cost and improve the
   production environment, while no change was made to the synthetic route.

       In the previous process, intermediate 1 (Figure 10, above) was formed and suspended in
ethyl acetate before centrifugation and drying. Ethyl acetate was used to enhance the liquidity of
the produced intermediate 1 in a format of slurry to improve the transfer from reactors. However,
intermediate 1 does not dissolve and crystallize well in ethyl acetate. Importantly, ethyl acetate
also has the potential to introduce an impurity (an ethyl-condensation product via an ester
exchanging) to the reaction. Therefore, the slurry operation to intermediate 1 using ethyl acetate

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was deleted in the TEA process with quenching. This change had no negative impact on quality
attributes.

        Given the simplicity of the reaction that produces intermediate 1 (Step 1), as well as the
fact that this reaction takes place early in TEA process, the centrifugation and drying operations
for intermediate 1 were canceled to avoid the EHS concern that hydrochloric gas (HClg) could
form during the centrifugation and subsequent drying operations. At the same time, the non-
significant specification for intermediate 1 was also canceled and the significant quality control
for intermediate 2 remained the same.

        The use of potassium carbonate (K2CO3) in Step 2 (Figure 10, above) of the synthetic route
was replaced by sodium carbonate (Na2CO3). This was a non-functional replacement of reagent
to reduce the cost of the reaction, while the synthetic route for manufacturing did not change.

        Comparing the previous processes, the modified process produced similar yields of
intermediate 2 and reduced impurity levels, as shown in Table-1 below.95




2. After the acylation reaction (Step 3, Figure 10, above), a washing procedure was added during
     the post-processing operation.

        Before the washing procedure using water and saturated sodium chloride (NaCl) solution,
an additional washing procedure was added (after the reaction was complete) using sodium
hydrogen carbonate (NaHCO3) solution to the reaction mixture. This additional NaHCO3 washing
increased the pH value and decreased the risk of acidic substance from this step (Step 3) in later
synthetic steps of the process. There was no adverse change in qualitative and quantitative profiles.



95
        (PRINSTON00079751.)

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3. While the synthetic route remained the same, changes were made to Step 4 (Figure 10, above)
     to reduce the racemization (see, Figure S1, above) and lower the cost.

        The specific changes included: 1) decreasing the molar ratio of azide used for the reaction
from 2 to 1.5; 2) adding a quenching procedure after the tetrazole formation reaction with a mixture
of sodium nitrite (NaNO2) and HCl solution; 3) replacing potassium hydroxide (KOH) with
sodium hydroxide (NaOH) in the hydrolysis procedure; and 4) canceling the drying of intermediate
4 (crude Valsartan) and consequently canceling the assay limit for intermediate 4 (crude Valsartan)
due to wet substance.96

        The original molar ratio of raw material and azide was 1:2. Although the large excess of
azide could increase the yield of the reaction, the excess azide could also increase the racemization
to form D-Valsartan (see, Figure S1, above). Thus, the molar ratio of raw material and azide was
changed to 1:1.5. In light of the possibility that excess azide left over after the tetrazole formation
reaction could introduce acidic azide, a highly toxic gas that can raise EHS concern during
manufacturing, a quenching procedure was added after the tetrazole formation reaction using
NaNO2 and HCl solution. This quenching procedure was added to ensure the excess azide in the
reaction mixture was destroyed completely. It minimized the risk of residual azide carry-over into
the final Valsartan API and the environment. As shown in Table-2 below, the batch results
indicated that no residual azide or nitrite was detected in the finished drug substance.97




        In addition, to reduce the overall cost, potassium hydroxide (KOH) previously used in Step
4 (Figure 10, above) was replaced with sodium hydroxide (NaOH). This is a non-functional

96
        (PRINSTON00079751-PRINSTON00079752.)
97
        (PRINSTON00079753.)

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replacement of the strong hydroxide base used in the hydrolysis procedure (see, Figure S1, above).
The synthetic route for manufacturing did not change. After the change from KOH to NaOH, the
reaction condition was developed by varying the reaction temperature and time (Table-3 below).
The optimized condition was 35-40 oC for 3.5-5 hours (Table-3 below).98




        Racemization could happen in Valsartan synthesis at the chiral carbon center (see, Figure
S1 blue star labeling, above) during the manufacturing process, especially in Step 4 (Figure 10,
above). The racemization of the compound can be enhanced during a drying procedure. Thus,
cancellation of the drying could reduce the risk of racemization. Other than the cancellation of the
drying, intermediate 4 (crude Valsartan) isolation by centrifugation did not change. The in-process
material control for intermediate 4 (crude Valsartan) also did not change. Moreover, the same
solvent (ethyl acetate) was used for recrystallization. Therefore, the cancellation of the drying
procedure for intermediate 4 (crude Valsartan) was considered to have minimal impact on the
quality of the product. Because, after the change, the intermediate is a wet substance, the original
assay limit (>= 80%) was consequently removed (Table-4, below). The test procedure for the
assay was retained. The results from the tests were used to determine material charging as “dried
basis” in the later crystallization step.99




98
        (PRINSTON00079753.)
99
        (PRINSTON00079754.)

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4. In Step 5 (Figure 10, above), the yield was adjusted to 70.5-82.5%.

       The changes include: 1) using the crude Valsartan with dried basis (weight of wet substance
multiplied by its assay) as the integrated quantity of wet substance for charging; and 2) adjusting
the yield of Step 5 (Figure 10, above) from 60.0-70.0% to 70.5-82.5% using the quantity of
intermediate 4 (crude Valsartan) with dried basis. Note: this change only reflected the calculation
pattern reforming, but did not cause change in the actual yields.100

       In sum, testing of the TEA process with quenching demonstrated that the specification of
final substance Valsartan did not change as a result of this process change. There was no adverse
change in its qualitative and quantitative impurity profile. The route for the synthesis did not
change. All intermediates remained the same. There were no new functional reagents, catalysts,
or solvents added into the process.

                2. ZHP Did Not Have Reason To Investigate The Possibility Of NDEA
                   Formation As Part Of Its Risk Assessment For The TEA Process With
                   Quenching.
       Plaintiffs’ experts opine that ZHP should have known that NDEA formation was a possible
result of the TEA process with quenching, and therefore a proper risk assessment would have




100
       (Id.)

                                                48
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specifically investigated whether any of the trace-level impurities in Valsartan API, which FDA
regulations did not require it to identify, were NDEA.101

         According to plaintiffs’ experts, ZHP should have known that the use of triethylamine
hydrochloride salt (TEA•HCl) as a catalyst in the TEA process with quenching created a risk of
nitrosamine NDEA formation because TEA can react with nitrous acid (NaNO2 + HCl solution)
to create NDEA. However, the reaction of TEA and nitrous acid (NaNO2 + HCl solution) to form
NDEA was not reasonably foreseeable at the time the TEA process with quenching was assessed.

         As set forth in detail above, NDEA formation requires the presence of a secondary amine
diethylamine (5a, see, Figure 9, above) along with NO+ (4) generated from nitrous acid (or sodium
nitrite + inorganic acid). (See, Figure 5, above.) TEA, a tertiary amine, is one of the common
non-nucleophilic bases that have been used in organic synthesis. TEA is not a secondary amine.
It cannot react with nitrous acid via a similar mechanism as that for a secondary amine (see, Figure
5, above) to produce the nitrosamine NDEA. Instead, TEA must first be converted into the
secondary amine diethylamine (5a) via a multi-step mechanism before it can react with NO+ (4)
to form NDEA in the crude Valsartan (step #4) of the TEA process with quenching (see, Figure
9, above). This reaction is known to be very slow.102,103 In the TEA process with quenching, the
tetrazole formation reaction was done by mixing the starting material with NaN3 in the presence
of TEA•HCl at 93-95 ℃ for 20 hours.104 After cooling the mixture to 35 ℃, NaNO2 was added
and then the pH value of the mixture was adjusted to pH <=3 using HCl (6N) while maintaining
the temperature <10 ℃.105

         At the time when the TEA process with quenching was developed, little was known about
the possibility that a reaction between TEA and nitrous acid (or sodium nitrite + inorganic acid)

101
          (See, e.g., 2022 Najafi Rep. at 28 (“ZHP’s risk assessment should have led them to monitor formation of
multiple potential nitrosamines including NDMA and NDEA.”); 2022 Hecht Rep. at 1 (“ZHP . . . could have and
should have identified the risk of formation of nitrosamines including NDMA and NDEA, and utilized that information
to test for and identify, and then prevent the nitrosamine impurities in the valsartan API and finished dose sold by
ZHP.”); Bain Rep. at 8 (claiming there was “inadequate testing of the drug products due to the failure to test for the
foresseable [sic] presence of NDMA and NDEA.”).)
102
         Smith PAS, Loeppky RN. (1967). Nitrosative cleavage of tertiary amines. J. Am. Chem. Soc. 89, 1147-1157.
103
        Smith PAS, Pars HG. (1959). Nitrosative cleavage of N’,N’-dialkhylhydrazides and tertiary amines. J. Org.
Chem. 24, 1325-1332.
104
         (ZHP02579969.)
105
         (ZHP02579969.)

                                                         49
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could generate the nitrosamine NDEA. The reaction of TEA with nitrous acid (or sodium nitrite +
inorganic acid) is not generally known among all chemists. During my 13-year career as a
professor of Chemistry, I have never taught this reaction in either my undergraduate (e.g., Organic
Chemistry I and Organic Chemistry II) or graduate courses (e.g., Organic Synthesis in Drug Design
and Medicinal Chemistry). In addition, in the past 11 years working in my own research lab and
studying potential carcinogens, I have never used this reaction in any of my projects. In fact,
despite my substantial experience in the field of chemistry, I was not aware of the possibility of
this reaction prior to my involvement in this case.

           Plaintiffs’ experts fail to cite references regarding the reaction of TEA with nitrous acid
(or sodium nitrite + inorganic acid). Based on my own review of the literature regarding the
synthetic method to the production of NDEA from TEA on SciFinder,106 only 10 publications were
found. Note that common reactions are typically reported in tens of thousands of publications.
Moreover, none of these 10 journal articles addresses the use of nitrous acid (or sodium nitrite +
inorganic acid) and TEA to produce NDEA. Instead, all the published methods included a special
nitrosating reagent such as the Fremy’s salt, 107 nitric acid/acetic anhydride, 108 N2O3, 109 and
N2O4110 to facilitate the formation of NDEA. Therefore, plaintiffs’ experts have not identified any
evidence that, at the time of the development of the TEA process with quenching, it was reported
in the literature that TEA could react with nitrous acid (or sodium nitrite + inorganic acid) to form
NDEA under the conditions present in the TEA process with quenching. And plaintiffs’ experts
certainly have not made a showing that, as of 2012, when ZHP updated its regulatory filings to
include TEA process with quenching as a manufacturing process, it was commonly known or


106
         SciFinder is produced by Chemical Abstracts Service (CAS). It is the most comprehensive database for the
chemical literature. SciFinder can search by topic, author, substances (by name or CAS Registry Number). In
addition, one can also use the editor feature to draw chemical structures, substructures, or reactions. SciFinder is a
core research tool for chemistry, chemical engineering, materials science, and other science and engineering
disciplines.
107
           Castedo, Luis; et al, (1983) Fremy's salt (potassium nitrosodisulfonate): a nitrosating reagent for amines. 6,
301-302.
108
           Boyer JH, Pillai TP, Ramakrishnan VT. (1985) Nitrosamines and nitramines from tertiary amines. Synthesis,
677-679.
109
        Rosadiuk, Kristopher A.; et al, (2018) Isolable Adducts of Tertiary Amines and Dinitrogen Trioxide.
European Journal of Inorganic Chemistry, 41, 4543-4549.
110
       Boyer, Joseph H.; et al, (1985) Nitrosamines from tertiary amines and dinitrogen tetraoxide. Journal of the
Chemical Society, Perkin Transactions 1: Organic and Bio-Organic Chemistry (1972-1999), (8), 1661-4.

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expected in the field of chemistry that TEA reacts with nitrous acid (or sodium nitrite + inorganic
acid) under the conditions used at ZHP to manufacture Valsartan API. As a result, there is no
scientific support for plaintiffs’ experts’ assertions that ZHP should have expected that the catalyst
TEA•HCl in the reaction process would react with the quenching agent (sodium nitrite + inorganic
acid) to result in the formation of nitrosamine NDEA. For these reasons, ZHP would not have
reasonably foreseen the formation of a nitrosamine impurity.

        In sum, it is reasonable and appropriate that ZHP would not have known, even after its
appropriate risk assessment for the TEA process with quenching, about the possibility of a reaction
between the catalyst TEA•HCl and the quenching agent (sodium nitrite + inorganic acid) in the
reaction procedure that could lead to the formation of the nitrosamine NDEA. As a result, the fact
that ZHP did not specifically investigate the potential for NDEA formation does not render the
company’s risk assessment for the TEA process with quenching inadequate.

VI. ZHP Performed Adequate Testing While Valsartan Was On The Market.
        Gas chromatography (GC) is a type of chromatography that is widely used in analytical
chemistry for separating and analyzing organic compounds that can be vaporized without
decomposition.111 It is routinely used in testing the purity of a substance.112 GC achieves the
separation of different compounds in a mixture by injecting a sample (either gaseous or liquid)
into a mobile phase (called the carrier gas, usually an inert gas such as helium, argon, or nitrogen)
and passing through a stationary phase (called the column, which is made of glass or metal tubing
containing a microscopic layer of viscous liquid on a surface of inert solid-supported particles).
The column is located in an oven so that its temperature can be controlled. The eluent coming off
the column is usually followed by a coupled detector such as flame ionization detector (FID) and
mass spectrometry (MS).

        FID is an analytical instrument that measures analytes in a gas stream. It functions by
detecting ions that are formed during combustion of organic compounds in a hydrogen flame. The
generation of the ions in the testing sample is proportional to the concentration of each organic



111
        Harvey, David (2000). Modern Analytical Chemistry. Boston: McGraw-Hill.
112
        Pavia, L., Gary M. Lampman, George S. Kritz, Randall G. Engel (2006). Introduction to Organic Laboratory
Techniques (4th Ed.). Thomson Brooks/Cole. pp. 797–817.

                                                      51
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component in the gas stream.113 To complete the detection, a potential difference is generated by
two electrodes.      The positive electrode generates the flame, while the negative electrode,
commonly called the collector plate, locates above the flame. The ions generated from the positive
electrode are attracted to and eventually hit the collector plate, to induce a current that can be
measured and recorded as peaks on a plot of total ion (y-axis) against time (x-axis). The detected
current correlates with the proportion of the reduced carbon atoms in the flame. The measurement
of ion per time unit makes FID a mass-sensitive instrument.114

        FID is the most widely and successfully used GC detector for volatile hydrocarbon organic
compounds. 115 Gas chromatography coupled with flame ionization detection (GC-FID) is
commonly used in separating and analyzing organic compounds that can be vaporized without
decomposition. It is powerful since it can detect almost all carbon-containing organic molecules.
As an alternative method to GC-FID, GC-MS is an analytical method that combines GC and MS
to identify different organic components within a testing sample.116

        As a professor, I have done significant work in testing samples (either as a single organic
compound or as a mixture of different organic compounds) that were generated from various
reaction types. Because FID is the most widely and successfully used GC detector, it is my opinion
that it was appropriate for ZHP to use GC-FID to test for impurities in a chemical substance such
as Valsartan API.

        According to plaintiffs’ experts, ZHP should have tested for the presence of NDMA and
NDEA as part of the manufacturing process.117 As explained above, the presence of either NDMA
or NDEA was not reasonably foreseeable at the time the ZnCl2 process and the TEA process with
quenching were assessed. NDMA formation requires the presence of a secondary amine along
with NO+ (4) generated from nitrous acid (or sodium nitrite + inorganic acid). (See, Figure 5,


113
        Skoog DA, Holler FJ, Crouch ST. Principles of Instrumental Analysis.
114
        Id.
115
         Zhu X, Sun J, Ning Z, Zhang Y, Liu J. (2016) High performance mini-gas chromatography-flame ionization
detector system based on micro gas chromatography column. Review of Scientific Instruments 87, 044102.
116
        Sparkman DO, Penton Z, Kitson FG (2011). Gas Chromatography and Mass Spectrometry: A Practical
Guide. Academic Press.
117
         (2022 Najafi Rep. at 26 (“The QC department should have been alerted by the chief process chemist to
monitor for nitrosamine impurities as part of the manufacturing process”).)

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above.) DMF is one of the common organic solvents that have been used in organic synthesis.118
It is not a secondary amine and cannot react with nitrous acid to result in NDMA. Instead, DMF
is a solvent that was used in the crude Valsartan (step #4) of the ZnCl2 process. On the other hand,
NDEA formation requires the presence of a secondary amine such as diethylamine (5a, see, Figure
9, above) along with NO+ (4) generated from nitrous acid (or sodium nitrite + inorganic acid).
(See, Figure 5, above.) TEA is a tertiary amine used in the tetrazole formation reaction in the
TEA process with quenching as a catalyst. TEA cannot react with nitrous acid via a similar
mechanism as that for a secondary amine (see, Figure 5, above) to produce the nitrosamine NDEA.
Instead, TEA must first be converted into the secondary amine diethylamine (5a) via a multi-step
mechanism before it can react with NO+ (4) to form NDEA in the crude Valsartan (step #4) of the
TEA process with quenching (see, Figure 9, above).

        At the time when the ZnCl2 process was developed and used, little was known about the
decomposition of the DMF solvent to generate a secondary amine dimethylamine, which could
further react with nitrous acid (or sodium nitrite + inorganic acid) to generate a nitrosamine
NDMA. Similarly, at the time when the TEA process with quenching was developed, little was
known about the reaction of TEA with nitrous acid (or sodium nitrite + inorganic acid) to generate
a nitrosamine NDEA. Because it was not established that there was an inherent risk of nitrosamine
formation, in my opinion, it is reasonable that ZHP did not specifically test for these as part of its
manufacturing processes.

        Plaintiffs’ experts also state that five testing methods for nitrosamines were available, and
any reasonable organic chemists would have used one of them to test Valsartan API for
nitrosamines. 119     The five methods identified by plaintiffs’ experts include the combined


118
        Sheldon RA. (2019) The greening of solvents: Towards sustainable organic synthesis. Current Opinion in
Green and Sustainable Chemistry, 18, 13-19.
119
         (2022 Najafi Rep. at 9-10 (“In response to the detection of nitrosamines found in valsartan containing
medications, the FDA published testing methods with several options for industry, as well as regulators, to test for
nitrosamines, including NDMA and NDEA. These FDA methods included the following: (a) Combined headspace
method: a GC-MS method that allows determination of both N-Nitrosodimethylamine (NDMA) and n-
nitrosodiethylamine (NDEA) simultaneously; (b) Combined direct injection method: a GC-MS/MS method that
allows for determination of both NDMA and NDEA simultaneously; (c) Direct injection GC-MS method: a method
that can detect NDMA, NDEA, N-Nitrosodiisopropylamine (NDIPA), N-Nitrosoethylisopropylamine (NEIPA), and
n-nitrosodibutylamine (NDBA); (d) Headspace GC-MS method: a method that can detect NDMA, NDEA, ndipa, and
neipa; and (e) lc-hrms method: a method that can detect NDMA, NDEA, NEIPA, NDIPA, NDBA, and N-Nitroso-N-
methyl-4-aminobutyric acid (NMBA)”); id.at 10 (“All these testing methods have existed for decades, long before the


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headspace method (GC-MS method), combined direct injection method (GC-MS/MS method),
direct injection (GC-MS method), headspace (GC-MS method), and LC-HRMS method. All of
these methods use MS as the detector. Although these MS-based methods are sensitive towards
the nitrosamines NDMA and NDEA, I have not seen any evidence that they were the standard in
the industry at the time when the ZnCl2 process and the TEA process with quenching were being
utilized for the production of Valsartan API and, as I have explained above, ZHP did not have a
scientific reason to be looking for NDMA or NDEA in Valsartan API at that time. Furthermore, I
understand that GC-FID had been the standard in the industry (including by Novartis, which
ultimately identified NDMA in Valsartan API in 2018). Therefore, it was reasonable that ZHP
used GC-FID as its testing method for Valsartan API.

VII. Plaintiffs’ Experts Have Not Presented Evidence That ZHP Employees Were Aware Of
     The Possibility Of NDMA Or NDEA Resulting From Its Manufacturing Processes
     Prior To 2018.
        Plaintiffs’ experts assert that, in an email dated July 27, 2017, ZHP employee Jinsheng Lin
“acknowledged the impurity he was investigating [in crude irbesartan] was very likely an ‘N-NO
compound’ which ‘is similar to the N-nitrosodimethylamine that occurs in valsartan when
quenched with sodium nitrite.’”120 They opine that this email rebuts “ZHP’s argument that it did
not have that information [about the possible nitrosamine contamination of Valsartan API] until
June 2018.121 In fact, Mr. Lin’s email demonstrates that ZHP did not have reason to know about
the potential for NDMA or NDEA resulting from the ZnCl2 process or TEA process with
quenching.




ZHP manufacturing processes using sodium nitrite were developed or used for the commercial production”); Bain
Rep. at 74 (“In addition, the technology to test for nitrosamine impurities existed, was well known, and should have
been applied to determine whether nitrosamines were forming. If those steps had been taken as required, the process
validation specifications would have included testing for NDEA and NDMA, and the NDEA and NDMA formed
during the manufacturing process, as well as that resulting from cross-contamination due to inadequate cleaning of
shared production lines would have been identified”); 2022 Najafi Rep. at 28 (“In my opinion, the only reason one
would choose to use a GC-FID instead of GC-MS would be a lack of understanding of chemical processes and
reactions, and/or to reduce chances of detection of finding impurities”).)
120
        (2022 Najafi Rep. at 30-31 (citing 4/20/2021 Min Li Dep. Ex. ZHP-296; ZHP00190573-ZHP00190574).)
121
         (See Bain Rep. at 1 (“ZHP apparently had knowledge as of July 27, 2017 or earlier of the NDMA impurities
and that the root cause of nitrosamine contamination in sartans was the quenching with sodium nitrite.”); Plunkett
Rep. at 32 (claiming that the July 27, 2017 email “shows that ZHP understood at least by 2017 that nitrosamines were
created in the production generally of ZHP’s sartan APIs.”).)

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       Mr. Lin’s email relates to the discovery of a hypothetical nitrosated impurity in the lab-
scale production of Irbesartan, a different drug molecule than Valsartan API. In the email, Mr.
Lin also mentions impurity K, a nitrosated impurity of the deacylated Valsartan, also a different
drug molecule from Valsartan API (Figure 11), which was described in a 2013 patent. (Zhejiang
Second Pharma Co. Ltd.) Mr. Lin’s email is written in Chinese, my native language. Based on
my understanding of Chinese and my expertise as a chemist, it is obvious to me that Mr. Lin’s
email reports the potential for a type of nitrosation reaction that happens between a reactive
nitrogen atom on a drug product or a drug intermediate (Figure 11, green circled) and a
nitrosonium ion (NO+). As demonstrated in Figure 11, both Irbesartan and deacylated Valsartan,
which are referenced in the email, contain a reactive nitrogen atom on the drug molecule itself,
which can react with NO+ to form nitrosated impurities. However, a similar reaction cannot take
place on acylated (step #3) product in the ZnCl2 process because no reactive nitrogen atom is
present in the chemical structure of the starting material. The email makes no reference to possible
nitrosamine formation from the TEA process with quenching or the ZnCl2 process for Valsartan
API.




       Figure 11. Proposed mechanism for the formation of nitrosated Irbesartan (top) and
impurity K (middle) described in Jinsheng Lin’s July 17, 2017 email, as compared to the tetrazole
formation conditions in the manufacture of Valsartan API (bottom).

       In addition, ZHP employees who have testified about the email have made clear that “due
to insufficient extent and depth of process research at the early stage, as well as insufficient study
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and understanding of potential genotoxic impurities, only side reaction product and degradation
products were studied” with respect to Irbesartan, and therefore ZHP “was unaware of the further
reaction between degradation products and raw material” related to Irbesartan.122 As a result, Mr.
Lin’s email discussing Irbesartan could not have been addressing the formation of nitrosamines as
a result of the potential degradation of DMF, which is what plaintiffs’ experts assert resulted in
the formation of nitrosamines during the ZnCl2 process for Valsartan API. In fact, the email
demonstrates that, when discussing potential nitrosamine formation, Mr. Lin did not have a reason
to raise the issue of degradation during manufacturing processes for Valsartan API because ZHP
did not know these processes could potentially result in nitrosamines.

        Correspondence between ZHP and Novartis in May and June 2018 further demonstrates
that ZHP was unaware of the potential for nitrosamine formation in its Valsartan API prior to that
time. First, neither ZHP nor Novartis – which contacted ZHP on May 22, 2018 about the peaks
that were ultimately identified as NDMA – initially knew what those peaks were.123 And when
Novartis asked for additional support for the identification of the peaks, ZHP ran a GC-MS
analysis, but did not discover the NDMA at first.124 It was not until several weeks after the initial
communication that Novartis and ZHP were able to confirm that NDMA was present in the
Valsartan API. 125 Novartis noted “how exceptional [ZHP’s] support [had] been through” the
process of identifying the unknown peaks.126

        The difficulty ZHP and Novartis encountered in identifying NDMA is unsurprising. In the
months after ZHP announced the recall of Valsartan API, even the FDA acknowledged that
NDMA is difficult to identify and that neither the FDA nor the industry knew to test for it – or
how to best test for it. According to the FDA’s public statement about Valsartan on August 30,
2018:



122
        (4/22/2021 Min Li Dep. Tr. 528:14-531:4.)
123
        (See, e.g., ZHP02172439 (initial email from Novartis stating that “[d]uring our analysis of residual solvents
by GC (using a combined method) at Novartis we have found a number of solvents that we cannot identify for the
following batches”); ZHP00389307-ZHP00389308 (initial response to Novartis from ZHP suggesting that the
unknown peaks were “dimethyl sulfide” and the product of a “reaction between Valsartan and DMSO”).)
124
        (See ZHP00389306 (ZHP providing “the chromatogram of GC-MS & Identification as attached”).)
125
        (ZHP01875822.)
126
        (ZHP01875820.)

                                                         56
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               [T]he FDA maintains the most advanced pharmaceutical laboratory of any
               regulatory agency in the world. As soon as we were aware of the NDMA
               impurity in certain valsartan drugs, we began collecting samples of all
               valsartan API and products marketed in the U.S. At the same time, our
               scientists began developing a test to detect and quantify NDMA in valsartan
               API. NDMA’s properties make it difficult to find. 127

The FDA statement also noted that, “[t]o determine if valsartan products do contain this impurity,
CDER’s scientists have now developed the gas chromatography-mass spectrometry (GC/MS)
headspace testing method. We posted this method to the web to help manufacturers and regulators
detect NDMA in valsartan API and tablets.” 128 The FDA acknowledged that “[b]ecause it was not
anticipated that NDMA would occur at these levels in the manufacturing of the valsartan API,
manufacturers would not have been testing for it” and regulatory investigators would not know to
look for it.129

        To summarize: one of the most advanced laboratories in the world initially
struggled to develop the correct process to identify NDMA in Valsartan given the difficulty
of detecting it, even with advanced methods. The FDA also acknowledged that it was not
anticipated that NDMA would occur in the Valsartan manufacturing process, meaning that
manufacturers and the FDA would not know to test for it. In addition, FDA scientists only
developed a gas chromatography-mass spectrometry (GC/MS) headspace testing method
specifically designed to test for nitrosamines after NDMA was identified in May 2018.
This is consistent with my opinions above.

        It is also worth emphasizing that ZHP voluntarily reported the presence of NDMA
to the FDA, and also voluntarily recalled its Valsartan API products. It was only after
ZHP’s voluntary disclosure and recall that the FDA started to look for NDMA in Valsartan-
containing drugs and eventually came up with a testing method for NDMA.




127
        See U.S. FDA, FDA Statement on FDA’s ongoing investigation into valsartan impurities and recalls and an
update on FDA’s current findings (current as of 8/30/2018) (available at https://www.fda.gov/news-events/press-
announcements/fda-statement-fdas-ongoing-investigation-valsartan-impurities-and-recalls-and-update-fdas-current).
128
        Id. (emphasis added).
129
        Id.

                                                       57
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Signed on the 22nd day of December, 2022.




                                                 __________________________________
                                                 Fengtian Xue, Ph.D.




                                            58
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                         Exhibit A
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                         Exhibit A - Materials Reviewed and Considered


   1. Third Amended Consumer Economic Loss Class Action Complaint, In Re: Valsartan, Losartan,
       and Irbesartan Products Liability Litigation, No. 1:19-md-2875-RBK, United States District
       Court, District of New Jersey, November 1, 2021
   2. Expert Report of Stephen S. Hecht, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products
       Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New
       Jersey, July 6, 2021
   3. Expert Report of Stephen S. Hecht, Ph.D, In Re: Valsartan, Losartan, and Irbesartan Products
       Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New
       Jersey, October 31, 2022
   4. Expert Report of Ron Najafi, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products
       Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New
       Jersey, November 4, 2021
   5. Expert Report of Ron Najafi, Ph.D., In Re: Valsartan, Losartan, and Irbesartan Products
       Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of New
       Jersey, October 31, 2022 and all documents cited therein
   6. Expert Report of Laura M. Plunkett, Ph.D., DABT, In Re: Valsartan, Losartan, and Irbesartan
       Products Liability Litigation, No. 1:19-md-2875-RBK, United States District Court, District of
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   7. Expert Report of Susan Bain, DRSc, In Re: Valsartan, Losartan, and Irbesartan Products
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   16. U.S. FDA, Information about Nitrosamine Impurities in Medications (available at
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       update-fdas-current)
 PRINSTON00000005        PRINSTON00031823          PRINSTON00037365         PRINSTON00053623
 PRINSTON00000008        PRINSTON00031762          PRINSTON00037230         PRINSTON00052916
 PRINSTON00000009        PRINSTON00031790          PRINSTON00037242         PRINSTON00053297
 PRINSTON00000027        PRINSTON00031868          PRINSTON00037390         PRINSTON00053826
 PRINSTON00019164        PRINSTON00032140          PRINSTON00037513         PRINSTON00054621
 PRINSTON00019172        PRINSTON00032142          PRINSTON00037519         PRINSTON00054640
 PRINSTON00019181        PRINSTON00032143          PRINSTON00037525         PRINSTON00054643
 PRINSTON00019188        PRINSTON00032147          PRINSTON00037527         PRINSTON00054657
 PRINSTON00019189        PRINSTON00032151          PRINSTON00037537         PRINSTON00054659
 PRINSTON00019190        PRINSTON00032156          PRINSTON00037562         PRINSTON00054662
 PRINSTON00019203        PRINSTON00032157          PRINSTON00037587         PRINSTON00054672
 PRINSTON00019205        PRINSTON00032176          PRINSTON00037591         PRINSTON00054674
 PRINSTON00019214        PRINSTON00032179          PRINSTON00037612         PRINSTON00054675
 PRINSTON00019215        PRINSTON00032193          PRINSTON00037613         PRINSTON00054677
 PRINSTON00019217        PRINSTON00032195          PRINSTON00037661         PRINSTON00054681
 PRINSTON00019219        PRINSTON00032198          PRINSTON00037677         PRINSTON00054685
 PRINSTON00019223        PRINSTON00032208          PRINSTON00037711         PRINSTON00054689
 PRINSTON00019224        PRINSTON00032210          PRINSTON00037712         PRINSTON00054691
 PRINSTON00019236        PRINSTON00032211          PRINSTON00037713         PRINSTON00054693
 PRINSTON00019241        PRINSTON00032212          PRINSTON00037714         PRINSTON00054695
 PRINSTON00019246        PRINSTON00032213          PRINSTON00037715         PRINSTON00054706
 PRINSTON00019282        PRINSTON00032215          PRINSTON00037716         PRINSTON00054742
 PRINSTON00019300        PRINSTON00032216          PRINSTON00037717         PRINSTON00054801
 PRINSTON00019336        PRINSTON00032220          PRINSTON00037718         PRINSTON00054862
 PRINSTON00019337        PRINSTON00032224          PRINSTON00037719         PRINSTON00054921
 PRINSTON00019338        PRINSTON00032241          PRINSTON00037720         PRINSTON00054980
 PRINSTON00019339        PRINSTON00032242          PRINSTON00037721         PRINSTON00055041
 PRINSTON00019340        PRINSTON00032261          PRINSTON00037722         PRINSTON00055100
 PRINSTON00019341        PRINSTON00032264          PRINSTON00037723         PRINSTON00055161
 PRINSTON00019342        PRINSTON00032278          PRINSTON00037724         PRINSTON00055287
 PRINSTON00019409        PRINSTON00032280          PRINSTON00037727         PRINSTON00055348
 PRINSTON00019420        PRINSTON00032283          PRINSTON00037730         PRINSTON00055466
 PRINSTON00019424        PRINSTON00032293          PRINSTON00037816         PRINSTON00055588
 PRINSTON00019431        PRINSTON00032295          PRINSTON00037902         PRINSTON00055711
 PRINSTON00019432        PRINSTON00032296          PRINSTON00037917         PRINSTON00055833
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 PRINSTON00019518   PRINSTON00032297   PRINSTON00037932   PRINSTON00055955
 PRINSTON00019606   PRINSTON00032298   PRINSTON00037935   PRINSTON00056077
 PRINSTON00019634   PRINSTON00032299   PRINSTON00037938   PRINSTON00056199
 PRINSTON00019662   PRINSTON00032301   PRINSTON00037941   PRINSTON00056319
 PRINSTON00019664   PRINSTON00032303   PRINSTON00037945   PRINSTON00056441
 PRINSTON00019666   PRINSTON00032307   PRINSTON00037968   PRINSTON00056502
 PRINSTON00019670   PRINSTON00032313   PRINSTON00037990   PRINSTON00056624
 PRINSTON00019674   PRINSTON00032327   PRINSTON00038022   PRINSTON00056746
 PRINSTON00019698   PRINSTON00032328   PRINSTON00038053   PRINSTON00056868
 PRINSTON00019722   PRINSTON00032347   PRINSTON00038063   PRINSTON00056990
 PRINSTON00019736   PRINSTON00032350   PRINSTON00038151   PRINSTON00057112
 PRINSTON00019811   PRINSTON00032364   PRINSTON00038158   PRINSTON00057263
 PRINSTON00019837   PRINSTON00032366   PRINSTON00038180   PRINSTON00057385
 PRINSTON00019846   PRINSTON00032369   PRINSTON00038205   PRINSTON00057505
 PRINSTON00019870   PRINSTON00032379   PRINSTON00038285   PRINSTON00057627
 PRINSTON00020492   PRINSTON00032381   PRINSTON00038365   PRINSTON00057749
 PRINSTON00020496   PRINSTON00032382   PRINSTON00038445   PRINSTON00057873
 PRINSTON00020500   PRINSTON00032383   PRINSTON00038525   PRINSTON00057995
 PRINSTON00020504   PRINSTON00032384   PRINSTON00038585   PRINSTON00058117
 PRINSTON00020508   PRINSTON00032386   PRINSTON00038593   PRINSTON00058314
 PRINSTON00020511   PRINSTON00032392   PRINSTON00038629   PRINSTON00058438
 PRINSTON00020514   PRINSTON00032393   PRINSTON00038666   PRINSTON00058560
 PRINSTON00020517   PRINSTON00032394   PRINSTON00038702   PRINSTON00058680
 PRINSTON00020520   PRINSTON00032395   PRINSTON00038738   PRINSTON00058810
 PRINSTON00020523   PRINSTON00032396   PRINSTON00038775   PRINSTON00058872
 PRINSTON00020526   PRINSTON00032397   PRINSTON00038811   PRINSTON00058934
 PRINSTON00020530   PRINSTON00032398   PRINSTON00038847   PRINSTON00058995
 PRINSTON00020537   PRINSTON00032422   PRINSTON00038884   PRINSTON00059056
 PRINSTON00020545   PRINSTON00032427   PRINSTON00038920   PRINSTON00059116
 PRINSTON00020555   PRINSTON00032428   PRINSTON00038956   PRINSTON00059180
 PRINSTON00020573   PRINSTON00032429   PRINSTON00038993   PRINSTON00059242
 PRINSTON00020585   PRINSTON00032431   PRINSTON00039029   PRINSTON00059297
 PRINSTON00020604   PRINSTON00032433   PRINSTON00039065   PRINSTON00059345
 PRINSTON00020616   PRINSTON00032435   PRINSTON00039102   PRINSTON00059469
 PRINSTON00020629   PRINSTON00032437   PRINSTON00039138   PRINSTON00059593
 PRINSTON00020644   PRINSTON00032460   PRINSTON00039141   PRINSTON00059722
 PRINSTON00020656   PRINSTON00032483   PRINSTON00039150   PRINSTON00059846
 PRINSTON00020682   PRINSTON00032506   PRINSTON00039166   PRINSTON00059977
 PRINSTON00020689   PRINSTON00032543   PRINSTON00039193   PRINSTON00060101
 PRINSTON00020696   PRINSTON00032545   PRINSTON00039210   PRINSTON00060225
 PRINSTON00020705   PRINSTON00032602   PRINSTON00039220   PRINSTON00060361
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 PRINSTON00020708   PRINSTON00032659   PRINSTON00039233   PRINSTON00060485
 PRINSTON00020711   PRINSTON00032719   PRINSTON00039246   PRINSTON00060609
 PRINSTON00020714   PRINSTON00032776   PRINSTON00039273   PRINSTON00060733
 PRINSTON00020717   PRINSTON00032837   PRINSTON00039277   PRINSTON00060857
 PRINSTON00020722   PRINSTON00032900   PRINSTON00039283   PRINSTON00060981
 PRINSTON00020726   PRINSTON00032964   PRINSTON00039289   PRINSTON00061048
 PRINSTON00020730   PRINSTON00033033   PRINSTON00039292   PRINSTON00061172
 PRINSTON00020734   PRINSTON00033094   PRINSTON00039298   PRINSTON00061296
 PRINSTON00020737   PRINSTON00033157   PRINSTON00039305   PRINSTON00061420
 PRINSTON00020740   PRINSTON00033160   PRINSTON00039313   PRINSTON00061482
 PRINSTON00020743   PRINSTON00033165   PRINSTON00039321   PRINSTON00061604
 PRINSTON00020746   PRINSTON00033173   PRINSTON00039323   PRINSTON00061728
 PRINSTON00020749   PRINSTON00033181   PRINSTON00039325   PRINSTON00061850
 PRINSTON00020754   PRINSTON00033186   PRINSTON00039327   PRINSTON00061972
 PRINSTON00020760   PRINSTON00033190   PRINSTON00039329   PRINSTON00062095
 PRINSTON00020805   PRINSTON00033246   PRINSTON00039331   PRINSTON00062219
 PRINSTON00021204   PRINSTON00033248   PRINSTON00039333   PRINSTON00062281
 PRINSTON00021281   PRINSTON00033253   PRINSTON00039335   PRINSTON00062343
 PRINSTON00021286   PRINSTON00033304   PRINSTON00039337   PRINSTON00062469
 PRINSTON00021294   PRINSTON00033310   PRINSTON00039341   PRINSTON00062593
 PRINSTON00021297   PRINSTON00033329   PRINSTON00039345   PRINSTON00062717
 PRINSTON00021315   PRINSTON00033332   PRINSTON00039349   PRINSTON00062841
 PRINSTON00021333   PRINSTON00033346   PRINSTON00039354   PRINSTON00062965
 PRINSTON00021352   PRINSTON00033348   PRINSTON00039359   PRINSTON00063089
 PRINSTON00021371   PRINSTON00033351   PRINSTON00039362   PRINSTON00063168
 PRINSTON00021389   PRINSTON00033361   PRINSTON00039364   PRINSTON00063187
 PRINSTON00021407   PRINSTON00033362   PRINSTON00039366   PRINSTON00063190
 PRINSTON00021429   PRINSTON00033363   PRINSTON00039368   PRINSTON00063204
 PRINSTON00021439   PRINSTON00033364   PRINSTON00039370   PRINSTON00063206
 PRINSTON00021448   PRINSTON00033365   PRINSTON00039372   PRINSTON00063209
 PRINSTON00021454   PRINSTON00033367   PRINSTON00039374   PRINSTON00063219
 PRINSTON00021512   PRINSTON00033368   PRINSTON00039376   PRINSTON00063221
 PRINSTON00021547   PRINSTON00033372   PRINSTON00039378   PRINSTON00063222
 PRINSTON00021583   PRINSTON00033376   PRINSTON00039383   PRINSTON00063223
 PRINSTON00021618   PRINSTON00033390   PRINSTON00039439   PRINSTON00063224
 PRINSTON00021653   PRINSTON00033391   PRINSTON00039499   PRINSTON00063226
 PRINSTON00021688   PRINSTON00033410   PRINSTON00039541   PRINSTON00063227
 PRINSTON00021724   PRINSTON00033413   PRINSTON00039560   PRINSTON00063230
 PRINSTON00021731   PRINSTON00033427   PRINSTON00039603   PRINSTON00063231
 PRINSTON00021733   PRINSTON00033429   PRINSTON00039645   PRINSTON00063235
 PRINSTON00021734   PRINSTON00033432   PRINSTON00039663   PRINSTON00063239
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 PRINSTON00021735   PRINSTON00033442   PRINSTON00039715   PRINSTON00063258
 PRINSTON00021736   PRINSTON00033444   PRINSTON00039794   PRINSTON00063261
 PRINSTON00021737   PRINSTON00033445   PRINSTON00039800   PRINSTON00063275
 PRINSTON00021739   PRINSTON00033446   PRINSTON00039858   PRINSTON00063277
 PRINSTON00021822   PRINSTON00033447   PRINSTON00039959   PRINSTON00063280
 PRINSTON00021904   PRINSTON00033448   PRINSTON00039962   PRINSTON00063290
 PRINSTON00021981   PRINSTON00033450   PRINSTON00039969   PRINSTON00063291
 PRINSTON00022057   PRINSTON00033455   PRINSTON00039972   PRINSTON00063292
 PRINSTON00022092   PRINSTON00033456   PRINSTON00039990   PRINSTON00063293
 PRINSTON00022127   PRINSTON00033460   PRINSTON00040006   PRINSTON00063301
 PRINSTON00022162   PRINSTON00033464   PRINSTON00040022   PRINSTON00063302
 PRINSTON00022197   PRINSTON00033467   PRINSTON00040040   PRINSTON00063305
 PRINSTON00022233   PRINSTON00033494   PRINSTON00040057   PRINSTON00063308
 PRINSTON00022268   PRINSTON00033513   PRINSTON00040072   PRINSTON00063312
 PRINSTON00022273   PRINSTON00033516   PRINSTON00040089   PRINSTON00063316
 PRINSTON00022276   PRINSTON00033530   PRINSTON00040099   PRINSTON00063331
 PRINSTON00022278   PRINSTON00033532   PRINSTON00040187   PRINSTON00063337
 PRINSTON00022291   PRINSTON00033535   PRINSTON00040192   PRINSTON00063343
 PRINSTON00022299   PRINSTON00033545   PRINSTON00040202   PRINSTON00063345
 PRINSTON00022302   PRINSTON00033546   PRINSTON00040203   PRINSTON00063347
 PRINSTON00022312   PRINSTON00033547   PRINSTON00040205   PRINSTON00063377
 PRINSTON00022317   PRINSTON00033548   PRINSTON00040217   PRINSTON00063408
 PRINSTON00022331   PRINSTON00033549   PRINSTON00040219   PRINSTON00063429
 PRINSTON00023045   PRINSTON00033551   PRINSTON00040220   PRINSTON00063434
 PRINSTON00023076   PRINSTON00033552   PRINSTON00040221   PRINSTON00063472
 PRINSTON00023086   PRINSTON00033556   PRINSTON00040222   PRINSTON00063521
 PRINSTON00023145   PRINSTON00033560   PRINSTON00040223   PRINSTON00063555
 PRINSTON00023147   PRINSTON00033575   PRINSTON00040224   PRINSTON00063556
 PRINSTON00023149   PRINSTON00033576   PRINSTON00040225   PRINSTON00063557
 PRINSTON00023154   PRINSTON00033595   PRINSTON00040318   PRINSTON00063558
 PRINSTON00023202   PRINSTON00033598   PRINSTON00040411   PRINSTON00063559
 PRINSTON00023203   PRINSTON00033612   PRINSTON00040510   PRINSTON00063560
 PRINSTON00023204   PRINSTON00033614   PRINSTON00040605   PRINSTON00063561
 PRINSTON00023205   PRINSTON00033617   PRINSTON00040705   PRINSTON00063562
 PRINSTON00023233   PRINSTON00033627   PRINSTON00040740   PRINSTON00063563
 PRINSTON00023265   PRINSTON00033629   PRINSTON00040775   PRINSTON00063564
 PRINSTON00023283   PRINSTON00033630   PRINSTON00040810   PRINSTON00063565
 PRINSTON00023293   PRINSTON00033631   PRINSTON00040845   PRINSTON00063566
 PRINSTON00023294   PRINSTON00033632   PRINSTON00040882   PRINSTON00063585
 PRINSTON00023299   PRINSTON00033633   PRINSTON00040918   PRINSTON00063588
 PRINSTON00023301   PRINSTON00033634   PRINSTON00040953   PRINSTON00063602
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 PRINSTON00023328   PRINSTON00033635   PRINSTON00040988   PRINSTON00063604
 PRINSTON00023330   PRINSTON00033639   PRINSTON00041023   PRINSTON00063607
 PRINSTON00023332   PRINSTON00033654   PRINSTON00041059   PRINSTON00063617
 PRINSTON00023334   PRINSTON00033655   PRINSTON00041096   PRINSTON00063618
 PRINSTON00023338   PRINSTON00033674   PRINSTON00041133   PRINSTON00063619
 PRINSTON00023405   PRINSTON00033677   PRINSTON00041168   PRINSTON00063620
 PRINSTON00023417   PRINSTON00033691   PRINSTON00041203   PRINSTON00063622
 PRINSTON00023424   PRINSTON00033693   PRINSTON00041238   PRINSTON00063624
 PRINSTON00023425   PRINSTON00033696   PRINSTON00041242   PRINSTON00063626
 PRINSTON00023426   PRINSTON00033706   PRINSTON00041244   PRINSTON00063627
 PRINSTON00023430   PRINSTON00033708   PRINSTON00041246   PRINSTON00063656
 PRINSTON00023431   PRINSTON00033709   PRINSTON00041258   PRINSTON00063660
 PRINSTON00023433   PRINSTON00033710   PRINSTON00041263   PRINSTON00063664
 PRINSTON00023435   PRINSTON00033711   PRINSTON00041265   PRINSTON00063683
 PRINSTON00023485   PRINSTON00033712   PRINSTON00041271   PRINSTON00063686
 PRINSTON00023537   PRINSTON00033713   PRINSTON00041274   PRINSTON00063700
 PRINSTON00023588   PRINSTON00033715   PRINSTON00041370   PRINSTON00063702
 PRINSTON00023637   PRINSTON00033719   PRINSTON00041373   PRINSTON00063705
 PRINSTON00023686   PRINSTON00033735   PRINSTON00041410   PRINSTON00063715
 PRINSTON00023735   PRINSTON00033736   PRINSTON00041418   PRINSTON00063716
 PRINSTON00023784   PRINSTON00033755   PRINSTON00041486   PRINSTON00063717
 PRINSTON00023834   PRINSTON00033758   PRINSTON00041488   PRINSTON00063719
 PRINSTON00023883   PRINSTON00033772   PRINSTON00041490   PRINSTON00063721
 PRINSTON00023933   PRINSTON00033774   PRINSTON00041494   PRINSTON00063724
 PRINSTON00023982   PRINSTON00033777   PRINSTON00041496   PRINSTON00063725
 PRINSTON00024031   PRINSTON00033787   PRINSTON00041498   PRINSTON00063734
 PRINSTON00024080   PRINSTON00033789   PRINSTON00041510   PRINSTON00063738
 PRINSTON00024129   PRINSTON00033790   PRINSTON00041516   PRINSTON00063742
 PRINSTON00024179   PRINSTON00033791   PRINSTON00041519   PRINSTON00063824
 PRINSTON00024228   PRINSTON00033792   PRINSTON00041526   PRINSTON00063906
 PRINSTON00024277   PRINSTON00033793   PRINSTON00041529   PRINSTON00063988
 PRINSTON00024326   PRINSTON00033798   PRINSTON00041736   PRINSTON00064070
 PRINSTON00024375   PRINSTON00033799   PRINSTON00041983   PRINSTON00064132
 PRINSTON00024424   PRINSTON00033800   PRINSTON00042043   PRINSTON00064144
 PRINSTON00024473   PRINSTON00033801   PRINSTON00042049   PRINSTON00064183
 PRINSTON00024522   PRINSTON00033802   PRINSTON00042120   PRINSTON00064184
 PRINSTON00024571   PRINSTON00033803   PRINSTON00042122   PRINSTON00064185
 PRINSTON00024620   PRINSTON00033804   PRINSTON00042124   PRINSTON00064186
 PRINSTON00024673   PRINSTON00033821   PRINSTON00042125   PRINSTON00064187
 PRINSTON00024722   PRINSTON00033822   PRINSTON00042127   PRINSTON00064188
 PRINSTON00024773   PRINSTON00033823   PRINSTON00042130   PRINSTON00064189
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 PRINSTON00024822   PRINSTON00033825   PRINSTON00042401   PRINSTON00064190
 PRINSTON00024873   PRINSTON00033827   PRINSTON00042436   PRINSTON00064191
 PRINSTON00024924   PRINSTON00033829   PRINSTON00042461   PRINSTON00064193
 PRINSTON00024973   PRINSTON00033831   PRINSTON00042462   PRINSTON00064269
 PRINSTON00025024   PRINSTON00033916   PRINSTON00042485   PRINSTON00064272
 PRINSTON00025073   PRINSTON00034002   PRINSTON00042630   PRINSTON00064278
 PRINSTON00025122   PRINSTON00034082   PRINSTON00042637   PRINSTON00064288
 PRINSTON00025171   PRINSTON00034172   PRINSTON00042640   PRINSTON00064352
 PRINSTON00025221   PRINSTON00034225   PRINSTON00042667   PRINSTON00064373
 PRINSTON00025270   PRINSTON00034298   PRINSTON00042668   PRINSTON00064375
 PRINSTON00025319   PRINSTON00034311   PRINSTON00042669   PRINSTON00064378
 PRINSTON00025368   PRINSTON00034323   PRINSTON00042674   PRINSTON00064387
 PRINSTON00025418   PRINSTON00034353   PRINSTON00042676   PRINSTON00064454
 PRINSTON00025467   PRINSTON00034374   PRINSTON00042678   PRINSTON00064472
 PRINSTON00025518   PRINSTON00034392   PRINSTON00042679   PRINSTON00064491
 PRINSTON00025567   PRINSTON00034407   PRINSTON00042680   PRINSTON00064514
 PRINSTON00025616   PRINSTON00034420   PRINSTON00042728   PRINSTON00064537
 PRINSTON00025665   PRINSTON00034433   PRINSTON00042774   PRINSTON00064571
 PRINSTON00025718   PRINSTON00034448   PRINSTON00042775   PRINSTON00064573
 PRINSTON00025769   PRINSTON00034506   PRINSTON00042779   PRINSTON00064609
 PRINSTON00025821   PRINSTON00034511   PRINSTON00042780   PRINSTON00064611
 PRINSTON00025828   PRINSTON00034530   PRINSTON00042808   PRINSTON00064630
 PRINSTON00025964   PRINSTON00034533   PRINSTON00042817   PRINSTON00064633
 PRINSTON00025971   PRINSTON00034547   PRINSTON00042858   PRINSTON00064647
 PRINSTON00026265   PRINSTON00034549   PRINSTON00042870   PRINSTON00064649
 PRINSTON00026317   PRINSTON00034552   PRINSTON00042889   PRINSTON00064652
 PRINSTON00026370   PRINSTON00034562   PRINSTON00042901   PRINSTON00064662
 PRINSTON00026423   PRINSTON00034563   PRINSTON00043009   PRINSTON00064663
 PRINSTON00026473   PRINSTON00034564   PRINSTON00043062   PRINSTON00064664
 PRINSTON00026523   PRINSTON00034565   PRINSTON00043114   PRINSTON00064665
 PRINSTON00026573   PRINSTON00034566   PRINSTON00043166   PRINSTON00064666
 PRINSTON00026623   PRINSTON00034567   PRINSTON00043218   PRINSTON00064667
 PRINSTON00026674   PRINSTON00034569   PRINSTON00043272   PRINSTON00064675
 PRINSTON00026725   PRINSTON00034573   PRINSTON00043324   PRINSTON00064676
 PRINSTON00026776   PRINSTON00034589   PRINSTON00043377   PRINSTON00064678
 PRINSTON00026827   PRINSTON00034590   PRINSTON00043430   PRINSTON00064681
 PRINSTON00026878   PRINSTON00034609   PRINSTON00043482   PRINSTON00064685
 PRINSTON00026929   PRINSTON00034612   PRINSTON00043534   PRINSTON00064689
 PRINSTON00026980   PRINSTON00034626   PRINSTON00043586   PRINSTON00064691
 PRINSTON00027031   PRINSTON00034628   PRINSTON00043638   PRINSTON00064697
 PRINSTON00027082   PRINSTON00034631   PRINSTON00043691   PRINSTON00064703
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 PRINSTON00027133   PRINSTON00034641   PRINSTON00043743   PRINSTON00064705
 PRINSTON00027184   PRINSTON00034643   PRINSTON00043798   PRINSTON00064753
 PRINSTON00027234   PRINSTON00034644   PRINSTON00043851   PRINSTON00064802
 PRINSTON00027285   PRINSTON00034645   PRINSTON00043903   PRINSTON00064832
 PRINSTON00027334   PRINSTON00034646   PRINSTON00043956   PRINSTON00064863
 PRINSTON00027384   PRINSTON00034648   PRINSTON00044008   PRINSTON00064884
 PRINSTON00027434   PRINSTON00034652   PRINSTON00044060   PRINSTON00064918
 PRINSTON00027485   PRINSTON00034666   PRINSTON00044112   PRINSTON00064919
 PRINSTON00027535   PRINSTON00034667   PRINSTON00044164   PRINSTON00064920
 PRINSTON00027585   PRINSTON00034686   PRINSTON00044216   PRINSTON00064921
 PRINSTON00027635   PRINSTON00034689   PRINSTON00044269   PRINSTON00064922
 PRINSTON00027685   PRINSTON00034703   PRINSTON00044321   PRINSTON00064923
 PRINSTON00027733   PRINSTON00034705   PRINSTON00044374   PRINSTON00064924
 PRINSTON00027783   PRINSTON00034708   PRINSTON00044427   PRINSTON00064925
 PRINSTON00027833   PRINSTON00034718   PRINSTON00044479   PRINSTON00064926
 PRINSTON00027883   PRINSTON00034720   PRINSTON00044532   PRINSTON00064927
 PRINSTON00027933   PRINSTON00034721   PRINSTON00044585   PRINSTON00064928
 PRINSTON00027983   PRINSTON00034722   PRINSTON00044637   PRINSTON00064929
 PRINSTON00028033   PRINSTON00034723   PRINSTON00044689   PRINSTON00064948
 PRINSTON00028083   PRINSTON00034724   PRINSTON00044746   PRINSTON00064951
 PRINSTON00028133   PRINSTON00034725   PRINSTON00044798   PRINSTON00064965
 PRINSTON00028183   PRINSTON00034731   PRINSTON00044849   PRINSTON00064967
 PRINSTON00028233   PRINSTON00034735   PRINSTON00044901   PRINSTON00064970
 PRINSTON00028283   PRINSTON00034754   PRINSTON00044953   PRINSTON00064980
 PRINSTON00028333   PRINSTON00034757   PRINSTON00045005   PRINSTON00064981
 PRINSTON00028383   PRINSTON00034771   PRINSTON00045055   PRINSTON00064982
 PRINSTON00028433   PRINSTON00034773   PRINSTON00045108   PRINSTON00064983
 PRINSTON00028483   PRINSTON00034776   PRINSTON00045160   PRINSTON00064984
 PRINSTON00028533   PRINSTON00034786   PRINSTON00045212   PRINSTON00064986
 PRINSTON00028583   PRINSTON00034787   PRINSTON00045264   PRINSTON00064987
 PRINSTON00028633   PRINSTON00034788   PRINSTON00045316   PRINSTON00064991
 PRINSTON00028683   PRINSTON00034789   PRINSTON00045368   PRINSTON00064996
 PRINSTON00028690   PRINSTON00034790   PRINSTON00045421   PRINSTON00065001
 PRINSTON00028837   PRINSTON00034791   PRINSTON00045473   PRINSTON00065002
 PRINSTON00028845   PRINSTON00034792   PRINSTON00045526   PRINSTON00065021
 PRINSTON00028857   PRINSTON00034796   PRINSTON00045581   PRINSTON00065024
 PRINSTON00028909   PRINSTON00034811   PRINSTON00045635   PRINSTON00065038
 PRINSTON00028937   PRINSTON00034812   PRINSTON00045691   PRINSTON00065040
 PRINSTON00028970   PRINSTON00034831   PRINSTON00045746   PRINSTON00065043
 PRINSTON00028997   PRINSTON00034834   PRINSTON00045800   PRINSTON00065053
 PRINSTON00029001   PRINSTON00034848   PRINSTON00045855   PRINSTON00065055
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 PRINSTON00029002   PRINSTON00034850   PRINSTON00045909   PRINSTON00065056
 PRINSTON00029022   PRINSTON00034853   PRINSTON00045963   PRINSTON00065057
 PRINSTON00029027   PRINSTON00034863   PRINSTON00046017   PRINSTON00065058
 PRINSTON00029069   PRINSTON00034865   PRINSTON00046071   PRINSTON00065059
 PRINSTON00029074   PRINSTON00034866   PRINSTON00046123   PRINSTON00065061
 PRINSTON00029076   PRINSTON00034867   PRINSTON00046175   PRINSTON00065062
 PRINSTON00029139   PRINSTON00034868   PRINSTON00046177   PRINSTON00065066
 PRINSTON00029167   PRINSTON00034869   PRINSTON00046444   PRINSTON00065070
 PRINSTON00029200   PRINSTON00034870   PRINSTON00046480   PRINSTON00065081
 PRINSTON00029233   PRINSTON00034874   PRINSTON00046501   PRINSTON00065082
 PRINSTON00029237   PRINSTON00034878   PRINSTON00046502   PRINSTON00065101
 PRINSTON00029238   PRINSTON00034879   PRINSTON00046508   PRINSTON00065104
 PRINSTON00029260   PRINSTON00034898   PRINSTON00046661   PRINSTON00065118
 PRINSTON00029262   PRINSTON00034912   PRINSTON00046667   PRINSTON00065120
 PRINSTON00029302   PRINSTON00034914   PRINSTON00046669   PRINSTON00065123
 PRINSTON00029307   PRINSTON00034924   PRINSTON00046700   PRINSTON00065133
 PRINSTON00029309   PRINSTON00034925   PRINSTON00046701   PRINSTON00065135
 PRINSTON00029329   PRINSTON00034926   PRINSTON00046702   PRINSTON00065136
 PRINSTON00029331   PRINSTON00034927   PRINSTON00046707   PRINSTON00065137
 PRINSTON00029401   PRINSTON00034928   PRINSTON00046710   PRINSTON00065138
 PRINSTON00029799   PRINSTON00034929   PRINSTON00046712   PRINSTON00065139
 PRINSTON00029810   PRINSTON00034935   PRINSTON00046713   PRINSTON00065141
 PRINSTON00029878   PRINSTON00034943   PRINSTON00046714   PRINSTON00065142
 PRINSTON00030230   PRINSTON00034971   PRINSTON00046762   PRINSTON00065146
 PRINSTON00030241   PRINSTON00034973   PRINSTON00046763   PRINSTON00065150
 PRINSTON00030314   PRINSTON00034974   PRINSTON00046768   PRINSTON00065164
 PRINSTON00030331   PRINSTON00034978   PRINSTON00046769   PRINSTON00065165
 PRINSTON00030565   PRINSTON00035020   PRINSTON00046878   PRINSTON00065206
 PRINSTON00030566   PRINSTON00035030   PRINSTON00046887   PRINSTON00065216
 PRINSTON00030567   PRINSTON00035031   PRINSTON00046982   PRINSTON00065218
 PRINSTON00030570   PRINSTON00035032   PRINSTON00047034   PRINSTON00065219
 PRINSTON00030572   PRINSTON00035033   PRINSTON00047086   PRINSTON00065220
 PRINSTON00030580   PRINSTON00035034   PRINSTON00047138   PRINSTON00065221
 PRINSTON00030584   PRINSTON00035035   PRINSTON00047190   PRINSTON00065222
 PRINSTON00030588   PRINSTON00035039   PRINSTON00047242   PRINSTON00065224
 PRINSTON00030592   PRINSTON00035040   PRINSTON00047294   PRINSTON00065228
 PRINSTON00030594   PRINSTON00035054   PRINSTON00047346   PRINSTON00065234
 PRINSTON00030598   PRINSTON00035055   PRINSTON00047398   PRINSTON00065235
 PRINSTON00030624   PRINSTON00035074   PRINSTON00047450   PRINSTON00065239
 PRINSTON00030681   PRINSTON00035077   PRINSTON00047502   PRINSTON00065243
 PRINSTON00030683   PRINSTON00035091   PRINSTON00047554   PRINSTON00065246
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 PRINSTON00030685   PRINSTON00035093   PRINSTON00047606   PRINSTON00065273
 PRINSTON00030686   PRINSTON00035096   PRINSTON00047658   PRINSTON00065292
 PRINSTON00030695   PRINSTON00035106   PRINSTON00047710   PRINSTON00065295
 PRINSTON00030714   PRINSTON00035108   PRINSTON00047764   PRINSTON00065309
 PRINSTON00030717   PRINSTON00035109   PRINSTON00047816   PRINSTON00065311
 PRINSTON00030731   PRINSTON00035110   PRINSTON00047868   PRINSTON00065314
 PRINSTON00030733   PRINSTON00035111   PRINSTON00047920   PRINSTON00065324
 PRINSTON00030736   PRINSTON00035112   PRINSTON00047972   PRINSTON00065325
 PRINSTON00030746   PRINSTON00035113   PRINSTON00048024   PRINSTON00065326
 PRINSTON00030747   PRINSTON00035119   PRINSTON00048075   PRINSTON00065327
 PRINSTON00030748   PRINSTON00035121   PRINSTON00048127   PRINSTON00065328
 PRINSTON00030750   PRINSTON00035123   PRINSTON00048179   PRINSTON00065330
 PRINSTON00030753   PRINSTON00035124   PRINSTON00048231   PRINSTON00065358
 PRINSTON00030757   PRINSTON00035128   PRINSTON00048283   PRINSTON00065359
 PRINSTON00030761   PRINSTON00035130   PRINSTON00048335   PRINSTON00065363
 PRINSTON00030762   PRINSTON00035149   PRINSTON00048387   PRINSTON00065367
 PRINSTON00030777   PRINSTON00035163   PRINSTON00048439   PRINSTON00065372
 PRINSTON00030796   PRINSTON00035165   PRINSTON00048491   PRINSTON00065391
 PRINSTON00030799   PRINSTON00035175   PRINSTON00048543   PRINSTON00065394
 PRINSTON00030813   PRINSTON00035176   PRINSTON00048595   PRINSTON00065408
 PRINSTON00030815   PRINSTON00035177   PRINSTON00048648   PRINSTON00065410
 PRINSTON00030818   PRINSTON00035178   PRINSTON00048700   PRINSTON00065413
 PRINSTON00030828   PRINSTON00035180   PRINSTON00048753   PRINSTON00065423
 PRINSTON00030829   PRINSTON00035181   PRINSTON00048805   PRINSTON00065424
 PRINSTON00030830   PRINSTON00035182   PRINSTON00048857   PRINSTON00065425
 PRINSTON00030832   PRINSTON00035183   PRINSTON00048909   PRINSTON00065426
 PRINSTON00030835   PRINSTON00035184   PRINSTON00048961   PRINSTON00065427
 PRINSTON00030836   PRINSTON00035185   PRINSTON00049013   PRINSTON00065428
 PRINSTON00030840   PRINSTON00035186   PRINSTON00049066   PRINSTON00065429
 PRINSTON00030844   PRINSTON00035187   PRINSTON00049118   PRINSTON00065433
 PRINSTON00030858   PRINSTON00035212   PRINSTON00049173   PRINSTON00065447
 PRINSTON00030877   PRINSTON00035228   PRINSTON00049225   PRINSTON00065448
 PRINSTON00030880   PRINSTON00035229   PRINSTON00049278   PRINSTON00065467
 PRINSTON00030894   PRINSTON00035246   PRINSTON00049331   PRINSTON00065470
 PRINSTON00030896   PRINSTON00035248   PRINSTON00049383   PRINSTON00065484
 PRINSTON00030899   PRINSTON00035250   PRINSTON00049435   PRINSTON00065486
 PRINSTON00030909   PRINSTON00035252   PRINSTON00049487   PRINSTON00065489
 PRINSTON00030911   PRINSTON00035254   PRINSTON00049539   PRINSTON00065499
 PRINSTON00030912   PRINSTON00035259   PRINSTON00049591   PRINSTON00065501
 PRINSTON00030913   PRINSTON00035314   PRINSTON00049643   PRINSTON00065502
 PRINSTON00030915   PRINSTON00035402   PRINSTON00049695   PRINSTON00065503
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 PRINSTON00030916   PRINSTON00035491   PRINSTON00049747   PRINSTON00065504
 PRINSTON00030920   PRINSTON00035607   PRINSTON00049799   PRINSTON00065506
 PRINSTON00030921   PRINSTON00035701   PRINSTON00049852   PRINSTON00065513
 PRINSTON00030925   PRINSTON00035767   PRINSTON00049905   PRINSTON00065514
 PRINSTON00030929   PRINSTON00035838   PRINSTON00049957   PRINSTON00065515
 PRINSTON00030948   PRINSTON00035909   PRINSTON00050010   PRINSTON00065516
 PRINSTON00030951   PRINSTON00035980   PRINSTON00050062   PRINSTON00065517
 PRINSTON00030965   PRINSTON00036051   PRINSTON00050114   PRINSTON00065518
 PRINSTON00030967   PRINSTON00036125   PRINSTON00050136   PRINSTON00065519
 PRINSTON00030970   PRINSTON00036189   PRINSTON00050137   PRINSTON00065537
 PRINSTON00030980   PRINSTON00036260   PRINSTON00050158   PRINSTON00065538
 PRINSTON00030981   PRINSTON00036272   PRINSTON00050292   PRINSTON00065539
 PRINSTON00030982   PRINSTON00036283   PRINSTON00050297   PRINSTON00065541
 PRINSTON00030984   PRINSTON00036299   PRINSTON00050441   PRINSTON00065543
 PRINSTON00030992   PRINSTON00036329   PRINSTON00050445   PRINSTON00065545
 PRINSTON00031028   PRINSTON00036347   PRINSTON00050457   PRINSTON00065560
 PRINSTON00031029   PRINSTON00036365   PRINSTON00050458   PRINSTON00065562
 PRINSTON00031031   PRINSTON00036384   PRINSTON00050521   PRINSTON00065568
 PRINSTON00031035   PRINSTON00036436   PRINSTON00050641   PRINSTON00065574
 PRINSTON00031039   PRINSTON00036446   PRINSTON00050765   PRINSTON00065580
 PRINSTON00031043   PRINSTON00036459   PRINSTON00050887   PRINSTON00065582
 PRINSTON00031047   PRINSTON00036527   PRINSTON00051009   PRINSTON00065612
 PRINSTON00031059   PRINSTON00036538   PRINSTON00051135   PRINSTON00065643
 PRINSTON00031061   PRINSTON00036557   PRINSTON00051261   PRINSTON00065674
 PRINSTON00031066   PRINSTON00036571   PRINSTON00051408   PRINSTON00065676
 PRINSTON00031071   PRINSTON00036573   PRINSTON00051412   PRINSTON00065753
 PRINSTON00031073   PRINSTON00036583   PRINSTON00051427   PRINSTON00065830
 PRINSTON00031107   PRINSTON00036584   PRINSTON00051428   PRINSTON00065916
 PRINSTON00031140   PRINSTON00036585   PRINSTON00051475   PRINSTON00066002
 PRINSTON00031163   PRINSTON00036586   PRINSTON00051599   PRINSTON00066079
 PRINSTON00031186   PRINSTON00036587   PRINSTON00051666   PRINSTON00066146
 PRINSTON00031188   PRINSTON00036588   PRINSTON00051733   PRINSTON00066213
 PRINSTON00031208   PRINSTON00036593   PRINSTON00051857   PRINSTON00066278
 PRINSTON00031238   PRINSTON00036596   PRINSTON00051982   PRINSTON00066343
 PRINSTON00031239   PRINSTON00036600   PRINSTON00052048   PRINSTON00066408
 PRINSTON00031240   PRINSTON00036602   PRINSTON00052110   PRINSTON00066413
 PRINSTON00031241   PRINSTON00036605   PRINSTON00052232   PRINSTON00066421
 PRINSTON00031242   PRINSTON00036625   PRINSTON00052250   PRINSTON00066426
 PRINSTON00031243   PRINSTON00036665   PRINSTON00052268   PRINSTON00066430
 PRINSTON00031244   PRINSTON00036701   PRINSTON00052280   PRINSTON00066433
 PRINSTON00031246   PRINSTON00036716   PRINSTON00052331   PRINSTON00066436
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 PRINSTON00031248   PRINSTON00036759   PRINSTON00052342   PRINSTON00066438
 PRINSTON00031251   PRINSTON00036778   PRINSTON00052352   PRINSTON00066443
 PRINSTON00031254   PRINSTON00036792   PRINSTON00052362   PRINSTON00066491
 PRINSTON00031257   PRINSTON00036794   PRINSTON00052364   PRINSTON00066496
 PRINSTON00031261   PRINSTON00036804   PRINSTON00052372   PRINSTON00066499
 PRINSTON00031265   PRINSTON00036805   PRINSTON00052382   PRINSTON00066502
 PRINSTON00031269   PRINSTON00036806   PRINSTON00052392   PRINSTON00066521
 PRINSTON00031271   PRINSTON00036807   PRINSTON00052394   PRINSTON00066524
 PRINSTON00031321   PRINSTON00036809   PRINSTON00052402   PRINSTON00066538
 PRINSTON00031324   PRINSTON00036813   PRINSTON00052412   PRINSTON00066540
 PRINSTON00031333   PRINSTON00036817   PRINSTON00052422   PRINSTON00066543
 PRINSTON00031400   PRINSTON00036819   PRINSTON00052424   PRINSTON00066553
 PRINSTON00031418   PRINSTON00036838   PRINSTON00052432   PRINSTON00066554
 PRINSTON00031437   PRINSTON00036852   PRINSTON00052442   PRINSTON00066555
 PRINSTON00031460   PRINSTON00036854   PRINSTON00052452   PRINSTON00066556
 PRINSTON00031483   PRINSTON00036864   PRINSTON00052454   PRINSTON00066557
 PRINSTON00031517   PRINSTON00036865   PRINSTON00052515   PRINSTON00066558
 PRINSTON00031519   PRINSTON00036866   PRINSTON00052516   PRINSTON00066560
 PRINSTON00031555   PRINSTON00036867   PRINSTON00052518   PRINSTON00066564
 PRINSTON00031588   PRINSTON00036868   PRINSTON00052520   PRINSTON00066575
 PRINSTON00031607   PRINSTON00036872   PRINSTON00052524   PRINSTON00066576
 PRINSTON00031610   PRINSTON00036905   PRINSTON00052525   PRINSTON00066595
 PRINSTON00031624   PRINSTON00036921   PRINSTON00052529   PRINSTON00066598
 PRINSTON00031626   PRINSTON00036923   PRINSTON00052531   PRINSTON00066612
 PRINSTON00031629   PRINSTON00036946   PRINSTON00052533   PRINSTON00066614
 PRINSTON00031639   PRINSTON00036969   PRINSTON00052535   PRINSTON00066617
 PRINSTON00031640   PRINSTON00037002   PRINSTON00052536   PRINSTON00066627
 PRINSTON00031641   PRINSTON00037021   PRINSTON00052538   PRINSTON00066629
 PRINSTON00031642   PRINSTON00037023   PRINSTON00052540   PRINSTON00066630
 PRINSTON00031644   PRINSTON00037027   PRINSTON00052543   PRINSTON00066631
 PRINSTON00066632   PRINSTON00068994   PRINSTON00138043   ZHP01458267
 PRINSTON00066633   PRINSTON00068996   PRINSTON00151028   ZHP01458339
 PRINSTON00066634   PRINSTON00069006   PRINSTON00171598   ZHP01458452
 PRINSTON00066635   PRINSTON00069007   PRINSTON00171602   ZHP01458464
 PRINSTON00066639   PRINSTON00069008   PRINSTON00171604   ZHP01458470
 PRINSTON00066647   PRINSTON00069009   PRINSTON00171609   ZHP01458495
 PRINSTON00066648   PRINSTON00069010   PRINSTON00177304   ZHP01458518
 PRINSTON00066667   PRINSTON00069011   PRINSTON00177677   ZHP01458527
 PRINSTON00066670   PRINSTON00069015   PRINSTON00182468   ZHP01458535
 PRINSTON00066684   PRINSTON00069016   PRINSTON00183155   ZHP01458541
 PRINSTON00066686   PRINSTON00069033   PRINSTON00191105   ZHP01459244
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 PRINSTON00066689   PRINSTON00069052   PRINSTON00191122   ZHP01459815
 PRINSTON00066699   PRINSTON00069066   PRINSTON00195418   ZHP01459829
 PRINSTON00066701   PRINSTON00069068   PRINSTON00198218   ZHP01459834
 PRINSTON00066702   PRINSTON00069078   PRINSTON00202890   ZHP01459881
 PRINSTON00066703   PRINSTON00069079   PRINSTON00210760   ZHP01632970
 PRINSTON00066704   PRINSTON00069080   PRINSTON00211549   ZHP01665968
 PRINSTON00066705   PRINSTON00069081   PRINSTON00233204   ZHP01667171
 PRINSTON00066706   PRINSTON00069082   PRINSTON00233619   ZHP01667227
 PRINSTON00066707   PRINSTON00069083   PRINSTON00233874   ZHP01681999
 PRINSTON00066711   PRINSTON00069087   PRINSTON00234451   ZHP01694618
 PRINSTON00066722   PRINSTON00069088   PRINSTON00234519   ZHP01713711
 PRINSTON00066723   PRINSTON00069121   PRINSTON00235043   ZHP02231254
 PRINSTON00066742   PRINSTON00069140   PRINSTON00235045   ZHP02231255
 PRINSTON00066745   PRINSTON00069154   PRINSTON00235047   ZHP02231327
 PRINSTON00066759   PRINSTON00069156   PRINSTON00235179   ZHP02231379
 PRINSTON00066761   PRINSTON00069166   PRINSTON00236002   ZHP02231492
 PRINSTON00066764   PRINSTON00069167   PRINSTON00236489   ZHP02231509
 PRINSTON00066774   PRINSTON00069168   PRINSTON00236491   ZHP02231526
 PRINSTON00066776   PRINSTON00069169   PRINSTON00236529   ZHP02231547
 PRINSTON00066777   PRINSTON00069170   PRINSTON00236540   ZHP02231567
 PRINSTON00066778   PRINSTON00069171   PRINSTON00236555   ZHP02231581
 PRINSTON00066779   PRINSTON00069172   PRINSTON00236561   ZHP02671546
 PRINSTON00066780   PRINSTON00069176   PRINSTON00236640   ZHP02671547
 PRINSTON00066781   PRINSTON00069177   PRINSTON00236643   ZHP02671548
 PRINSTON00066787   PRINSTON00069188   PRINSTON00247247   ZHP02671549
 PRINSTON00066791   PRINSTON00069207   PRINSTON00247252   PRINSTON00073421
 PRINSTON00066810   PRINSTON00069221   PRINSTON00247422   PRINSTON00074516
 PRINSTON00066813   PRINSTON00069223   PRINSTON00247459   PRINSTON00077533
 PRINSTON00066827   PRINSTON00069233   PRINSTON00248468   PRINSTON00077616
 PRINSTON00066829   PRINSTON00069234   PRINSTON00248492   PRINSTON00081547
 PRINSTON00066832   PRINSTON00069235   PRINSTON00248606   PRINSTON00081596
 PRINSTON00066842   PRINSTON00069236   PRINSTON00249260   PRINSTON00082675
 PRINSTON00066843   PRINSTON00069238   PRINSTON00249303   PRINSTON00082857
 PRINSTON00066844   PRINSTON00069239   PRINSTON00249966   PRINSTON00082868
 PRINSTON00066845   PRINSTON00069240   PRINSTON00251094   PRINSTON00083580
 PRINSTON00066846   PRINSTON00069241   PRINSTON00251097   PRINSTON00084798
 PRINSTON00066847   PRINSTON00069242   PRINSTON00251151   PRINSTON00096707
 PRINSTON00066848   PRINSTON00069243   PRINSTON00267057   PRINSTON00112003
 PRINSTON00066852   PRINSTON00069244   PRINSTON00272652   PRINSTON00112882
 PRINSTON00066863   PRINSTON00069245   PRINSTON00274844   PRINSTON00114788
 PRINSTON00066864   PRINSTON00069246   PRINSTON00275082   PRINSTON00114803
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 PRINSTON00066883   PRINSTON00069275   PRINSTON00275164   PRINSTON00114831
 PRINSTON00066886   PRINSTON00069294   PRINSTON00275311   PRINSTON00115430
 PRINSTON00066900   PRINSTON00069296   PRINSTON00276496   PRINSTON00115443
 PRINSTON00066902   PRINSTON00069299   PRINSTON00276560   PRINSTON00115469
 PRINSTON00066905   PRINSTON00069302   PRINSTON00276575   PRINSTON00115473
 PRINSTON00066915   PRINSTON00069305   PRINSTON00276579   PRINSTON00115674
 PRINSTON00066917   PRINSTON00069308   PRINSTON00279740   PRINSTON00121802
 PRINSTON00066918   PRINSTON00069311   PRINSTON00280178   PRINSTON00147028
 PRINSTON00066919   PRINSTON00069313   PRINSTON00311974   PRINSTON00155822
 PRINSTON00066920   PRINSTON00069315   PRINSTON00341436   PRINSTON00157232
 PRINSTON00066922   PRINSTON00069317   PRINSTON00366068   PRINSTON00157243
 PRINSTON00066928   PRINSTON00069319   SOLCO00183861      PRINSTON00158423
 PRINSTON00066929   PRINSTON00069325   ZHP00002079        PRINSTON00161863
 PRINSTON00066930   PRINSTON00069406   ZHP00077529        PRINSTON00162259
 PRINSTON00066931   PRINSTON00069487   ZHP00078723        PRINSTON00162342
 PRINSTON00066932   PRINSTON00069580   ZHP00078865        PRINSTON00172244
 PRINSTON00066933   PRINSTON00069672   ZHP00080376        PRINSTON00232480
 PRINSTON00066934   PRINSTON00069753   ZHP00081966        PRINSTON00282150
 PRINSTON00066935   PRINSTON00069824   ZHP00086078        PRINSTON00315736
 PRINSTON00066952   PRINSTON00069895   ZHP00086114        PRINSTON00367665
 PRINSTON00066953   PRINSTON00069967   ZHP00086116        PRINSTON00414085
 PRINSTON00066955   PRINSTON00070039   ZHP00086119        PRINSTON00427584
 PRINSTON00066957   PRINSTON00070110   ZHP00086691        PRINSTON00427585
 PRINSTON00066959   PRINSTON00070120   ZHP00086845        PRINSTON00428208
 PRINSTON00066961   PRINSTON00070132   ZHP00086850        PRINSTON00444379
 PRINSTON00066964   PRINSTON00070143   ZHP00086936        SOLCO00027103
 PRINSTON00066967   PRINSTON00070161   ZHP00086965        SOLCO00033496
 PRINSTON00066970   PRINSTON00070216   ZHP00087436        SOLCO00134269
 PRINSTON00066973   PRINSTON00070231   ZHP00087440        SOLCO00152622
 PRINSTON00066976   PRINSTON00070248   ZHP00087472        SOLCO00153678
 PRINSTON00066977   PRINSTON00070261   ZHP00087598        SOLCO00153737
 PRINSTON00067057   PRINSTON00070277   ZHP00087654        ZHP00061068
 PRINSTON00067137   PRINSTON00070291   ZHP00088339        ZHP00061069
 PRINSTON00067229   PRINSTON00070301   ZHP00088460        ZHP00061080
 PRINSTON00067320   PRINSTON00070311   ZHP00088829        ZHP00061081
 PRINSTON00067400   PRINSTON00070370   ZHP00089055        ZHP00062554
 PRINSTON00067471   PRINSTON00070383   ZHP00089494        ZHP00062555
 PRINSTON00067541   PRINSTON00070402   ZHP00089584        ZHP00076624
 PRINSTON00067612   PRINSTON00070416   ZHP00090787        ZHP00076630
 PRINSTON00067682   PRINSTON00070418   ZHP00092262        ZHP00084289
 PRINSTON00067752   PRINSTON00070428   ZHP00092266        ZHP00094705
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 PRINSTON00067823   PRINSTON00070430    ZHP00092301        ZHP00106327
 PRINSTON00067893   PRINSTON00070434    ZHP00095233        ZHP00107709
 PRINSTON00067963   PRINSTON00070438    ZHP00096580        ZHP00250032
 PRINSTON00068034   PRINSTON00070441    ZHP00096675        ZHP00252107
 PRINSTON00068104   PRINSTON00070443    ZHP00097521        ZHP00270127
 PRINSTON00068175   PRINSTON00070445    ZHP00097836        ZHP00288134
 PRINSTON00068245   PRINSTON00070447    ZHP00097843        ZHP00288820
 PRINSTON00068257   PRINSTON00070448    ZHP00099424        ZHP00356801
 PRINSTON00068258   PRINSTON00070449    ZHP00099804        ZHP00357485
 PRINSTON00068287   PRINSTON00070452    ZHP00101837        ZHP00386118
 PRINSTON00068288   PRINSTON00070454    ZHP00101882        ZHP00397222
 PRINSTON00068308   PRINSTON00070457    ZHP00101913        ZHP00397973
 PRINSTON00068309   PRINSTON00070460    ZHP00106651        ZHP00408030
 PRINSTON00068325   PRINSTON00070462    ZHP00107730        ZHP00413805
 PRINSTON00068326   PRINSTON00070468    ZHP00107734        ZHP00431497
 PRINSTON00068327   PRINSTON00070470    ZHP00108612        ZHP00476336
 PRINSTON00068328   PRINSTON00070472    ZHP00108614        ZHP00635360
 PRINSTON00068342   PRINSTON00070473    ZHP00109360        ZHP00698764
 PRINSTON00068355   PRINSTON00070474    ZHP00109361        ZHP00806819
 PRINSTON00068357   PRINBURY00058083    ZHP00109728        ZHP00839987
 PRINSTON00068413   PRINSTON00031265    ZHP00111012        ZHP01133674
 PRINSTON00068426   PRINSTON00031324    ZHP00115237        ZHP01357832
 PRINSTON00068427   PRINSTON00031790    ZHP00115241        ZHP01413880
 PRINSTON00068429   PRINSTON00038063    ZHP00115372        ZHP01429757
 PRINSTON00068448   PRINSTON00038151    ZHP00116205        ZHP01429887_1
 PRINSTON00068451   PRINSTON00137623    ZHP00116677        ZHP01435524
 PRINSTON00068465   PRINSTON00177447    ZHP00116680        ZHP01442665
 PRINSTON00068467   PRINSTON00233602    ZHP00116698        ZHP01446239
 PRINSTON00068470   SOLCO00025625       ZHP00117272        ZHP01447094
 PRINSTON00068480   ZHP01451842         ZHP00117285        ZHP01469440
 PRINSTON00068481   HUAHAI-US00004162   ZHP00117318        ZHP01478778
 PRINSTON00068482   PRINBURY00058078    ZHP00117355        ZHP01486505
 PRINSTON00068483   PRINSTON00000001    ZHP00380099        ZHP01494185
 PRINSTON00068484   PRINSTON00000005    ZHP01458188        ZHP01529217
 PRINSTON00068485   PRINSTON00000011    ZHP01458189        ZHP01530164
 PRINSTON00068489   PRINSTON00000019    ZHP01491890        ZHP01538233
 PRINSTON00068490   PRINSTON00020496    ZHP01632970        ZHP01584923
 PRINSTON00068501   PRINSTON00020500    ZHP01637516        ZHP01594873
 PRINSTON00068502   PRINSTON00020504    ZHP01637604        ZHP01821455
 PRINSTON00068521   PRINSTON00020717    ZHP01875818        ZHP01863911
 PRINSTON00068524   PRINSTON00020722    ZHP02392789        ZHP02224966
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 PRINSTON00068538   PRINSTON00020726   ZHP02671548         ZHP02238671
 PRINSTON00068540   PRINSTON00020730   HUAHAI-US00004162   ZHP02290597
 PRINSTON00068543   PRINSTON00020754   PRINSTON00010613    ZHP02298856
 PRINSTON00068553   PRINSTON00022302   PRINSTON00011177    ZHP02301814
 PRINSTON00068555   PRINSTON00022312   PRINSTON00011181    ZHP02305922
 PRINSTON00068556   PRINSTON00022317   PRINSTON00012473    ZHP02385560
 PRINSTON00068557   PRINSTON00023076   PRINSTON00012480    ZHP02410249
 PRINSTON00068558   PRINSTON00032398   PRINSTON00017571    ZHP02560896
 PRINSTON00068559   PRINSTON00033450   PRINSTON00017581    ZHP02561504
 PRINSTON00068560   PRINSTON00033804   PRINSTON00017896    ZHP02561534
 PRINSTON00068564   PRINSTON00037376   PRINSTON00017898    ZHP02561543
 PRINSTON00068568   PRINSTON00037385   PRINSTON00071518    ZHP02561551
 PRINSTON00068569   PRINSTON00037945   PRINSTON00072213    ZHP02561600
 PRINSTON00068588   PRINSTON00038158   PRINSTON00072294    ZHP02561602
 PRINSTON00068602   PRINSTON00039341   PRINSTON00072349    ZHP02579954
 PRINSTON00068604   PRINSTON00039345   PRINSTON00080011    ZHP02580067
 PRINSTON00068614   PRINSTON00039354   PRINSTON00083555    ZHP02580141
 PRINSTON00068615   PRINSTON00039359   PRINSTON00089191    ZHP02580241
 PRINSTON00068616   PRINSTON00039362   PRINSTON00122940    ZHP02580258
 PRINSTON00068617   PRINSTON00039378   PRINSTON00132088    ZHP02580289
 PRINSTON00068618   PRINSTON00039383   PRINSTON00132090    ZHP02580371
 PRINSTON00068619   PRINSTON00039858   PRINSTON00132258    ZHP02580482
 PRINSTON00068625   PRINSTON00054677   PRINSTON00133713    ZHP02580487
 PRINSTON00068633   PRINSTON00063721   PRINSTON00137324    ZHP02580777
 PRINSTON00068661   PRINSTON00063725   PRINSTON00212078    ZHP02580796
 PRINSTON00068663   PRINSTON00064375   PRINSTON00233619    ZHP02736201
 PRINSTON00068664   PRINSTON00068560   PRINSTON00236491    ZHP02736202
 PRINSTON00068668   PRINSTON00070434   PRINSTON00341436    ZHP02736683_1
 PRINSTON00068672   PRINSTON00074177   SOLCO00032527       ZHP02736709
 PRINSTON00068675   PRINSTON00074186   SOLCO00032528       ZIQIANGGU025808
 PRINSTON00068694   PRINSTON00077339   SOLCO00183861       PRINSTON00079001
 PRINSTON00068708   PRINSTON00079310   ZHP00079871         PRINSTON00162335
 PRINSTON00068710   PRINSTON00079329   ZHP00087598         PRINSTON00315969
 PRINSTON00068720   PRINSTON00089191   ZHP00089556         PRINSTON00435319
 PRINSTON00068721   PRINSTON00089837   ZHP00089585         PRINSTON00447843
 PRINSTON00068722   PRINSTON00091316   ZHP00089774         ZHP00263916
 PRINSTON00068723   PRINSTON00092688   ZHP00092117         ZHP00393513
 PRINSTON00068724   PRINSTON00092951   ZHP00092137         ZHP00393908
 PRINSTON00068725   PRINSTON00097822   ZHP00096675         ZHP00395850
 PRINSTON00068731   PRINSTON00097828   ZHP00097775         ZHP01510611
 PRINSTON00068733   PRINSTON00105958   ZHP00100729         ZHP02224962
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 PRINSTON00068735   PRINSTON00105960   ZHP00101286        ZHP02444024_1
 PRINSTON00068736   PRINSTON00126118   ZHP00107730        ZHP02563015
 PRINSTON00068740   PRINSTON00126802   ZHP00107734        ZHP02748991
 PRINSTON00068742   PRINSTON00126870   ZHP00111012        ZHP00389304
 PRINSTON00068761   PRINSTON00126872   ZHP00115372        ZHP01812101
 PRINSTON00068775   PRINSTON00131161   ZHP00396670        ZHP00190573
 PRINSTON00068777   PRINSTON00132180   ZHP00455957        ZHP00190573 -
                                                          Translation from
                                                          Lionbridge
 PRINSTON00068787   PRINSTON00132258   ZHP00731709        ZHP02652306
 PRINSTON00068788   PRINSTON00133127   ZHP00733766        ZHP00245039
 PRINSTON00068789   PRINSTON00133713   ZHP01442556        PRINSTON00079794
 PRINSTON00068790   PRINSTON00133781   ZHP01442564        ZHP01710663
 PRINSTON00068791   PRINSTON00133837   ZHP01447770        ZHP01617381
 PRINSTON00068792   PRINSTON00134669   ZHP01457679        ZHP01617390
 PRINSTON00068797   PRINSTON00134697   ZHP01457784        ZHP01843066
 PRINSTON00068800   PRINSTON00134732   ZHP01457868        PRINSTON00053085
 PRINSTON00068804   PRINSTON00134734   ZHP01457870_1      PRINSTON00053350
 PRINSTON00068806   PRINSTON00135370   ZHP01457872        PRINSTON00053403
 PRINSTON00068809   PRINSTON00137212   ZHP01457907        PRINSTON00053512
 PRINSTON00068831   PRINSTON00137245   ZHP01458085        PRINSTON00053570
 PRINSTON00068872   PRINSTON00137324   ZHP01458118        PRINSTON00053456
 PRINSTON00068901   PRINSTON00137366   ZHP01458189        PRINSTON00053695
 PRINSTON00068903   PRINSTON00137408   ZHP01458196        PRINSTON00053699
 PRINSTON00068918   PRINSTON00137436   ZHP01458199        PRINSTON00065184
 PRINSTON00068961   PRINSTON00137755   ZHP01458200        PRINSTON00065187
 PRINSTON00068980   PRINSTON00137878   ZHP01458210        PRINSTON00065201
 PRINSTON00070492   PRINSTON00031779   PRINSTON00037234   PRINSTON00053138
 PRINSTON00072212   PRINSTON00031792   PRINSTON00037319   PRINSTON00053191
 PRINSTON00072213   PRINSTON00031796   PRINSTON00037338   PRINSTON00053244
 PRINSTON00073102   PRINSTON00031816   PRINSTON00037354   PRINSTON00054583
 PRINSTON00073104   PRINSTON00031821   PRINSTON00037364   PRINSTON00054593
 PRINSTON00073120   PRINSTON00031800   PRINSTON00037352   PRINSTON00065203
 PRINSTON00074781   PRINSTON00031825   PRINSTON00037369   PRINSTON00052979
 PRINSTON00074782   PRINSTON00031830   PRINSTON00037372   PRINSTON00054573
 PRINSTON00079081   PRINSTON00034982   PRINSTON00046797   PRINSTON00054577
 PRINSTON00079169   PRINSTON00034985   PRINSTON00046806   PRINSTON00054605
 PRINSTON00079197   PRINSTON00035004   PRINSTON00046847   PRINSTON00054599
 PRINSTON00079747   PRINSTON00031780   PRINSTON00037235   PRINSTON00052927
 PRINSTON00079751   PRINSTON00031781   PRINSTON00037237   PRINSTON00052724
 PRINSTON00079752   PRINSTON00031782   PRINSTON00037241   PRINSTON00052582
 PRINSTON00079753   PRINSTON00032108   PRINSTON00037484   PRINSTON00052625
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 PRINSTON00079754   PRINSTON00032122   PRINSTON00037488   PRINSTON00052657
 PRINSTON00236649   PRINSTON00035018   PRINSTON00046859   PRINSTON00052659
 SOLCO00032578      PRINSTON00031767   PRINSTON00037232   PRINSTON00052663
 ZHP00245062        PRINSTON00032086   PRINSTON00037476   PRINSTON00052715
 ZHP00245064        PRINSTON00032105   PRINSTON00037483   PRINSTON00052717
 ZHP00389306        PRINSTON00032137   PRINSTON00037499   PRINSTON00052629
 ZHP00389307        PRINSTON00032127   PRINSTON00037495   PRINSTON00052627
 ZHP01458188        PRINSTON00031764   PRINSTON00037231   PRINSTON00052655
 ZHP01660092        PRINSTON00031716   PRINSTON00037123   PRINSTON00052661
 ZHP01660190        PRINSTON00031645   PRINSTON00037033   PRINSTON00052631
 ZHP01660191        PRINSTON00031653   PRINSTON00037065   PRINSTON00052719
 ZHP01660223        PRINSTON00031693   PRINSTON00037070   PRINSTON00052722
 ZHP01660321        PRINSTON00031696   PRINSTON00037089   PRINSTON00052734
 ZHP01660345        PRINSTON00031707   PRINSTON00037105   PRINSTON00052762
 ZHP01660532        PRINSTON00031708   PRINSTON00037115   PRINSTON00052801
 ZHP01660583        PRINSTON00031709   PRINSTON00037116   PRINSTON00052803
 ZHP01660621        PRINSTON00031674   PRINSTON00037067   PRINSTON00052808
 ZHP01661566        PRINSTON00031655   PRINSTON00037066   PRINSTON00053032
 ZHP01661581        PRINSTON00031691   PRINSTON00037069   PRINSTON00054617
 ZHP01661736        PRINSTON00031706   PRINSTON00037103   PRINSTON00054615
 ZHP01661804        PRINSTON00031677   PRINSTON00037068   PRINSTON00054595
 ZHP01661835        PRINSTON00031711   PRINSTON00037117   PRINSTON00053715
 ZHP01661845        PRINSTON00031712   PRINSTON00037119   PRINSTON00053760
 ZHP01661847        PRINSTON00031720   PRINSTON00037124   PRINSTON00054052
 ZHP01661882        PRINSTON00031725   PRINSTON00037185   PRINSTON00054053
 ZHP01662029        PRINSTON00031726   PRINSTON00037204   PRINSTON00054153
 ZHP01662062        PRINSTON00031745   PRINSTON00037218   PRINSTON00054068
 ZHP01662097        PRINSTON00031748   PRINSTON00037220   PRINSTON00054214
 ZHP01710671        PRINSTON00031777   PRINSTON00037233   PRINSTON00054130
 ZHP01875820        PRINSTON00032139   PRINSTON00037512   PRINSTON00053805
 ZHP01875822        PRINSTON00032138   PRINSTON00037503   PRINSTON00054276
 ZHP02172439        PRINSTON00032124   PRINSTON00037490   PRINSTON00054338
 ZHP02220191        PRINSTON00031835   PRINSTON00037376   PRINSTON00054393
 ZHP02220239        PRINSTON00031840   PRINSTON00037385   PRINSTON00054453
 ZHP02579962        PRINSTON00031870   PRINSTON00037391   PRINSTON00054454
 ZHP02579963        PRINSTON00031872   PRINSTON00037393   PRINSTON00054473
 ZHP02579964        PRINSTON00031961   PRINSTON00037399   PRINSTON00054492
 ZHP02579965        PRINSTON00031905   PRINSTON00037395   PRINSTON00054504
 ZHP02579966        PRINSTON00031984   PRINSTON00037405   PRINSTON00054562
 ZHP02579967        PRINSTON00031938   PRINSTON00037397   PRINSTON00052618
 ZHP02579969        PRINSTON00031845   PRINSTON00037389
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 ZHP02579970       PRINSTON00032007   PRINSTON00037407
 ZHP02579971       PRINSTON00032030   PRINSTON00037408
 ZHP02579973       PRINSTON00032050   PRINSTON00037409
 ZHP02579977       PRINSTON00032080   PRINSTON00037412
 ZHP02579979       PRINSTON00032081   PRINSTON00037428
 ZHP02579981       PRINSTON00032082   PRINSTON00037441
 ZHP02579985       PRINSTON00032083   PRINSTON00037444
 ZHP02579986       PRINSTON00032084   PRINSTON00037447
 ZHP02579987       PRINSTON00032085   PRINSTON00037461
 ZHP02642306       PRINSTON00031649   PRINSTON00037064
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                         Exhibit B
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                                                                               December 18, 2022


NAME              Fengtian Xue, Ph.D.


TITLE             Associate Professor


EDUCATION
    B.S.          Department of Chemistry, 1996-2001
                  University of Science and Technology of China (USTC)
                  Anhui, China,
                  Thesis: Synthesis and Characterization of Polymer-Based Optical Fibers
                  Supervisor: Dr. Qijin Zhang

    Ph.D.         Department of Chemistry, 2001-2007
                  Brown University
                  Providence, RI
                  Thesis: Small Molecule Inhibitors for the Serine Protease Plasmin
                  Supervisor: Dr. Christopher T. Seto


WORK EXPERIENCE
    2007 – 2009   Postdoctoral Fellow
                  Department of Chemistry
                  Northwestern University
                  Evanston, Illinois
                  Project: nNOS Inhibitors for Neurodegenerative Diseases
                  Supervisor: Dr. Richard B. Silverman

    2009 – 2011   Assistant Professor
                  Department of Chemistry
                  University of Louisiana at Lafayette
                  Lafayette, LA

    2011 – 2018   Assistant Professor
                  Department of Pharmaceutical Sciences
                  School of Pharmacy
                  University of Maryland Baltimore
                  Baltimore, MD

    2018 –        Associate Professor
                  Department of Pharmaceutical Sciences
                  School of Pharmacy
                  University of Maryland Baltimore
                  Baltimore, MD


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RESEARCH INTERESTS

Pre-clinical development of small molecule therapeutics for bacterial infections, AUD, neurodegenerative
diseases, and cancer


AWARDS AND PRIZES

2022          NEXUS Award, JHU-UMB Collaborations for Drug Discovery and Development
2020          NEXUS Award, JHU-UMB Collaborations for Drug Discovery and Development
2017          University of Maryland School of Pharmacy AACP Teacher of the Year
2015          AACR Career Development Award (for Translational Breast Cancer Research)
2010          Summer Research Award, University of Louisiana at Lafayette
2008          Postdoctoral Fellowship, Proximagen, United Kingdom
2006          Graduate Dissertation Fellowship, Brown University
2001          Outstanding College Student of the Year, Anhui, China
2001          Excellent Student Scholarship of USTC, First Prize
2000          Excellent Student Scholarship of USTC, First Prize
1999          Excellent Student Scholarship of USTC, First Prize
1998          Japan Shi-Ye-Tong-Xun-Wang Fellowship
1997          Xu-Xin Fellowship, China

PROFESSIONAL MEMBERSHIPS
       Society of Chinese Bioscientists in America (SCBA)
       Sigma Xi (full member)
       The American Chemical Society (ACS)
       American Association of the Advancement of Science (AAAS)
       American Association of Colleges of Pharmacy (AACP)
       American Association of Pharmaceutical Scientists (AAPS)
       American Association for Cancer Research (AACR)


EDITOR AND REVIEWER EXPERIENCE

Editorial Board:
       Frontiers in Drug Discovery – Cardiovascular and Hematologic Drugs (2021 – )
       Frontiers in Aging Neuroscience (2021 – )
       Current Trends in Medicinal Chemistry

Reviewer for Journals:
       ACS Applied Polymer Materials
       ACS Chemical Biology
       ACS Chemical Neuroscience

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  ACS Medicinal Chemistry Letters
  Biochemistry
  Bioorganic Chemistry
  Bioorganic Medicinal Chemistry
  Bioorganic Medicinal Chemistry Letters
  Catalysis Communications
  ChemComm
  ChemMedChem
  ChemistrySelect
  Chemistry Letters
  Expert Opinion on Investigational Drugs
  European Journal of Medicinal Chemistry
  Future Medicinal Chemistry
  Journal of Combinatorial Chemistry
  Journal of Enzyme Inhibition and Medicinal Chemistry
  Journal of Infection in Developing Countries
  Journal of Inorganic Biochemistry
  Journal of Medicinal Chemistry
  Journal of Natural Products
  Letters in Organic Chemistry
  MedChemComm
  Medicinal Research Reviews Molecules
  New Journal in Chemistry
  NeuroReport
  Organic Biomolecular Chemistry
  Organic Chemistry Frontiers
  Organic Letters
  Organic Process Research & Development
  Royal Society Open Science
  RSC Advances
  SynLett
  Targeted Oncology
  Tetrahedron Letters
  Toxicology and Applied Pharmacology

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Grants Review:
       NIH/NIAID (January 2023, scheduled)
       NIH ZRG1 IMST-K SBIR/STTR (May 2022)
       NIH AIDC (12) SBIR: Nonviral Anti-infective Therapeutics Special Emphasis Panel (March 2022)
       NIH ZRG1 AIDC-S (80) (March 2022)
       NIH ZRG1 AIDC-S (80) (November 2021)
       Swiss National Science Foundation (2021)
       NIH BST-55: High-throughput screening (March 2019)
       NIH BST-55: High-throughput screening (October 2018)
       Great Lakes Fishery Commission
       South Carolina NASA Space Grant
       Outstanding Self-Financed International Graduate Student Fellowship (2013 – 2015)


INVITED SPEAKER AT SYMPOSIA; LECTURESHIP
1. Enhancers of CPA- and DOX-based chemotherapy. Shanghai Institute of Technology, Nov 30, 2022
2. ALDH2 inhibitors for the treatment of AUDs. NCATS, Aug 29, 2022
3. Enhancers of CPA- and DOX-based chemotherapy. Towson University, Dec 9, 2021
4. BCL6 BTB Domain Inhibitors for Diffuse Large B-Cell Lymphomas. SCBA Annual Meeting,
   December 12, 2020
5. Anti-Pseudomonal Agents by Targeting the Heme Uptake System. Towson University, April 2, 2020
6. Small Molecule Therapeutics for DLBCL. Loyola University in Chicago, March 19, 2020
7. Anti-Virulence by Targeting the Pseudomonas aeruginosa Heme Acquisition System. Frontiers in
   Metals in Medicine Symposium, November 15, 2019
8. Therapeutics for Diffuse Large B-Cell Lymphomas. Johns Hopkins University, November 11, 2019
9. Small Molecule Therapeutics for DLBCL. Northwestern University, April 18, 2018
10. CAR Activators as a Sensitizer for Cyclophosphamide-Based Anti-Cancer Therapy. The University of
    Tennessee Health Science Center, March 27, 2018
11. CAR Activators as a Sensitizer for Cyclophosphamide-Based Anti-Cancer Therapy. Notre Dame of
    Maryland University, November 2, 2017
12. Wnt Signaling Inhibitors for the Treatment of Colorectal Cancer. Nanjing Science and Technology
    University, July 3, 2017
13. Allosteric Inhibitors of Bacterial Heme Oxygenase as Novel Antimicrobial Agents. Shanghai
    University, June 30, 2017
14. Wnt Signaling Inhibitors for the Treatment of Colorectal Cancer. Jiaxing University, June 29, 2017
15. Wnt Signaling Inhibitors for the Treatment of Non-Alcoholic Fatty Liver Diseases (NAFLD). Nanjing
    Normal University, June 19, 2017

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16. Novel Wnt Inhibitors as Novel Treatment of Non-Alcoholic Fatty Liver Diseases (NAFLD).
    University of Texas Austin, April 13, 2017
17. BCL6 BTB domain inhibitors for the treatment of DLBCL. University of Wisconsin Milwaukee,
    November 18, 2016
18. Wnt Signaling Inhibitors for the Treatment of Type 2 Diabetes. Brown University, October 7, 2016
19. BCL6 BTB Domain Inhibitors for DLBCL. Virginia Commonwealth University, September 7, 2016
20. Small Molecule Inhibitors of the BCL6 BTB Domain as Potential Treatment for DLBCL. CADD
    Symposium, Baltimore, MD, May 25, 2016.
21. Anti-Parasitic Agents by Targeting the Heme Transporters. Texas Technology University, April 6,
    2016.
22. Small Molecule Inhibitors of the BCL6 BTB Domain for Diffuse Large B-Cell Lymphomas.
    University of Utah, March 24, 2016.
23. BCL6 BTB domain inhibitors for the treatment of DLBCL. China Pharmaceutical University, June 9,
    2015.
24. BCL6 BTB domain inhibitors for the treatment of DLBCL. Nanjing University of Science and
    Technology, China, May 29, 2015.
25. Small molecule inhibitors of the BCL6 BTB domain for diffuse large B-cell lymphoma. University of
    Maryland Baltimore County, MD, September 23, 2014.
26. Metabotropic Glutamate Receptor 5 Agonists as Drug Candidates for Traumatic Brain Injury. CADD
    Symposium, MD, July 9, 2012.
27. Development of A Fluorometric Assay for Protein Serine/Threonine Phosphatase Calcineurin. Xavier
    University of Louisiana, October 27, 2011.
28. Development of Novel Inhibitors of Neuronal Nitric Oxide Synthase for the Treatment of
    Neurodegenerative Diseases. Symposium on Nitric Oxide and Other Gaseous Neurotransmitters,
    Toronto, Canada, May 27-28, 2010.


TEACHING ACTIVITIES

Course Taught at UMB

 Year       Course #                 Course Name                     Credits      Role

 2022       PHAR533                  Med Chem 1                      2            Course manager
            PHAR667                  Org Synth Drug Design           1            Co-Course manager
            PHAR628                  Bioanal Pharmacol Methods       1-3          Lecturer
            PHAR600                  Principles Drug Discov          1-3          Lecturer
            PHAR606                  Experimental Success #1         1            Course manager

 2021       PHAR608                  Pharma Sci MS Lab Skills        1            Course manager
            PHAR533                  Med Chem 1                      2            Course manager
            PHAR628                  Bioanal Pharmacol Methods       1-3          Lecturer
            PHAR600                  Principles Drug Discov          1-3          Lecturer

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2020    PHAR608           Pharma Sci MS Lab               1            Course manager
        PHAR533           Med Chem 1                      2            Course manager
        PHAR705           PSC Journal Club                1            Co-Course manager
        PHAR667           Org Synth Drug Design           1            Co-Course manager
        PHAR751           Drug Design                     2            Lecturer
        PHMY551           Recent Adv Pharmacol            1            Lecturer
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHAR 600          Principles Drug Discov          1-3          Lecturer

2019    PHAR533           Med Chem 1                      2            Course manager
        PHAR705           PSC Journal Club                1            Co-Course manager
        PHMY551           Recent Adv Pharmacol            1            Lecturer
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHAR 600          Principles Drug Discov          1-3          Lecturer

2018    PHAR533           Med Chem 1                      2            Course manager
        PHAR705           PSC Journal Club                1            Co-Course manager
        PHAR667           Org Synth Drug Design           1            Co-Course manager
        PHAR539           Med Chem 2                      2            SG proctor
        PHMY551           Recent Adv Pharmacol            1            Lecturer
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHAR 600          Principles Drug Discov          1-3          Lecturer

2017    PHAR533           Med Chem 1                      2            Course manager
        PHAR705           PSC Journal Club                1            Co-Course manager
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHMY551/651       Recent Adv Pharmacol            1            Lecturer
        PHAR 600          Principles Drug Discov          1-3          Lecturer

2016    PHAR533           Med Chem 1                      2            Course manager
        PHMY551/651       Recent Adv Pharmacol            1            Lecturer
        PHAR 600          Principles Drug Discov.         1-3          Lecturer
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHAR751           Drug Design                     2            Lecturer
        REGS 614          Regulatory Science              3            Lecturer

2015    PHAR533           Med Chem 1                      2            Course manager
        PHMY551/651       Recent Adv Pharmacol            1            Lecturer
        PHAR568           APS Debate                                   Mediator
        PHAR 600          Principles Drug Discov          1-3          Lecturer
        PHAR 628          Bioanal Pharmacol Methods       1-3          Lecturer
        PHAR667           Org Synth Drug Design           1            Co-Course manager
        REGS 614          Regulatory Science              3            Lecturer

2014    PHAR533           Med Chem 1                      2            Course manager
        PHMY551/651       Recent Adv Pharmacol            1            Lecturer
                                                                                           6
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             PHAR600                     Principles Drug Discov            1-3            Lecturer
             PHAR628                     Bioanal Pharmacol Methods         1-3            Lecturer
             PHAR751                     Drug Design                       2              Lecturer

 2013        PHAR533                     Med Chem 1                        2              Course manager
             PHMY551/651                 Recent Adv Pharmacol              1              Lecturer
             PHAR 600                    Principles Drug Discov.           1-3            Lecturer
             PHAR 628                    Bioanal Pharmacol Methods         1-3            Lecturer

 2012        PHAR533                     Med Chem 1                        2              Course manager
             PHAR 600                    Principles Drug Discov            1-3            Lecturer
             PHAR 628                    Bioanal Pharmacol Methods         1-3            Lecturer

 2011        PHAR534                     Med Chem 2                        2              Lecturer
             PHMY551/651                 Recent Adv Pharmacol              1-3            Lecturer

Course Taught in Previous Institutes

 Year            Course Name                                 Credits             Role

 University of Louisiana at Lafayette:

 2011            Organic Chemistry 1                         3                   Course manager
                 Organic Chemistry Lab                       1                   Course manager
 2010            Organic Chemistry 1                         3                   Course manager
                 Organic Chemistry 2                         3                   Course manager
                 Organic Chemistry Lab                       1                   Course manager
 2009            Organic Chemistry 1                         3                   Course manager
                 Organic Chemistry Lab                       1                   Course manager

 Brown University:

 2005            Organic Chemistry Lab                       1                   Teaching Assistant
 2004            Organic Chemistry Lab                       1                   Teaching Assistant
 2003            Organic Chemistry Lab                       1                   Teaching Assistant
 2002            Organic Chemistry Lab                       1                   Teaching Assistant
 2001            General Chemistry Lab                       1                   Teaching Assistant


Fellows and Students Supervised
        Postdoctoral Scholars            Yong Ai (2016 – )
                                         Dongdong Liang (2015 – 2019)
                                         Huimin Cheng (2015 – 2017)
                                         Wei Yang (2014 – 2016)
                                         Xinhua He (2012 – 2014)

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                           Shilei Zhu (2013)
                           Hannah Mbatia (2011 – 2012)
                           Chuangyu Qi (2011 – 2012)

  Graduate Students
                           Zijin Xu (2022 – )
                           Shuaiqian (Helen) Men (Rotation, Spring 2022)
                           Lena Grogan (Rotation, 2021 – 2022)
                           Aziza Frank (2021 – joint with the Wilks Lab, CBI trainee)
                           Nathaniel McClean (Rotation, Spring 2021)
                           Aziza Frank (Rotation, Fall 2020)
                           Christopher Goodis (Rotation, Spring 2020)
                           Matthew Hursey (Rotation, Fall 2018)
                           Benjamin Diethelm-Varela (2018 – 2021, CBI trainee, Master)
                           Asmita Adhikari (Rotation, Fall 2017)
                           Garrick Centola (2017 – 2022, Xue and Wilks Labs, CBI trainee)
                           Elizabeth Robinson (2016 – 2021, Xue and Wilks Labs, CBI trainee)
                           Geoffrey Heinzl (2011 – 2016, Xue and Wilks Labs, CBI trainee)
                           Kiwon Ok (Rotation, Spring 2016)
                           Chad Johnson (Rotation, Fall 2015)
                           Rachita Rai (2013 – 2015, graduated with a Master’s degree)
                           Tao Liang (Rotation, Fall 2013)


  PSC Master Students
                           Ayush Sinha (PSC Master Internship, 2022)
                           Mayur Umesh Shete (PSC Master Internship, 2022)
                           Ruchaa Charuhas Sapre (PSC Master Internship, 2022)
                           Gabriela Flores (2021)
                           Manali Kadam (2021)
                           Manali Nagarhalli (2020)


  PharmD Research Students Chiamaka Okereafor (2022)
                           Negar Hamidi (2021 – 2022)
                           Heng Ung (2020)
                           Aanye Gafrey (2020)
                                                                                            8
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                           Lucia Hwang (2020 – 2022)
                           Ferideh Sistani-Khanaman (2018 – 2020)
                           Phuc Quang Tran (2017 – 2019)
                           Chun Yin Li (2017)
                           Nathan Shen (2017)
                           Ana Continho (2014 – 2018)
                           Nam Nguyen (2014 – 2019)
                           Tommy Lee (2015 – 2016)
                           Willy Lee (2015)
                           Sidick Jibril (2014 – 2015)
                           Priya Brunsdon (2015)
                           Kelly Murphy (2014)
                           Jung-Min Lee (2013 – 2014)

  Undergraduate Students
        UMB:               Faith (Malaika) Nyuawara (UMCP, Summer 2022)
                           Assefa Akinwole (UMBC, Summer 2019)
                           Keri McClelland (the Bryn Mawr School, Summer 2018)
                           Meredith Kuser (PSC Summer Intern Program 2018)
                           Alexandra Morris (PSC Summer Intern Program 2017)
                           Yue Yin (Binghamton University, Summer 2017)
                           Deanna Sersen (PSC Summer Intern Program 2016)
                           Nayara Cauneto (Federal University, Brazil, Summer 2015)
                           Wende Kyle (PSC Summer Intern Program 2014)
                           Tharcilla Aglio (Federal University, Brazil, Summer 2014)
                           Emily Sartain (PSC Summer Intern Program 2013)

        ULL:               Charlie Roy (Summer 2010)
                           Venkatesh Thirumal (2009 – 2010)
                           Tom Nguyen (2009 – 2010)
                           Brad Landreneau (Spring 2010)

        Northwestern:      George Michael (Spring 2009)
                           Julia Widom (Fall 2008)
                           William Lewis (Summer 2008)


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             Brown University:   Samuel Kim (Spring 2006)
                                 Clara Orber (Fall 2004)

      Visiting Scholars          Dr. Wan Pang (2019 – 2020)
                                 Dr. Yu Li (2018 – 2019)
                                 Dr. Jingming Zhao (2018)
                                 Dr. Qianshou Zong (2016)
                                 Dr. Chao Jiang (2014)
                                 Dr. Shaymma Kassab (2014)
                                 Dr. Xianyu Sun (2013)

PSC Ph.D. Comprehensive Exam and Thesis Committees Member
                                 Samuel Krug (Thesis committee member)
                                 Nathaniel McClean (Thesis committee member 2022)
                                 Kyle Kihn (Thesis committee member)
                                 Ritika Kurian (Thesis committee member)
                                 Raquel Shortt (Thesis committee member)
                                 Payal Chatterjee (Thesis committee member)
                                 Sydney Stern (Thesis defense on 4-4-2022)
                                 Brandon Drennen (Thesis defense on 10-31-2019, CBI trainee)
                                 Obinna Obianom (Thesis defense on 5-18-2018)
                                 Yewon Pak (Thesis defense on 5-22-2017, CBI trainee)
                                 Joseph Thomas (Thesis defense on 11-15-2016)
                                 Lijia Lee (Thesis defense on 10-2-2016)
                                 Jeremy Yep (Thesis defense on 5-15-2014)
                                 Diana Vivian (Thesis defense on 4-8-2014)

External Thesis Committee        Nopondo Ndoh Esemoto (UMBC, Thesis defense on 11-18-2022)

Advisors for PSC Master Students Gabriela Flores (2021)
                                 Manali Nagarhalli (2020)

Advisors for PharmD Students     7 Baltimore Students Class of 2026 (2022 – )
                                 20 Shady Grove Students Class of 2021 (2017 – 2021)
                                 12 Shady Grove Students Class of 2017 (2014 – 2018)
                                 10 Baltimore Students Class of 2019 (2013 – 2017)

Awards to Mentees
                                 Garrick Centola: PSC Dean’s Teaching Fellowship (Fall 2021)
                                                                                                 10
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                                 Ferideh Sistani-Khanaman: Conrad L. Wich Prize: exceptional
                                 work in medicinal chemistry and pharmacology (2021)
                                 Garrick Centola: PSC Science Fellowship Award (2020)
                                 Garrick Centola: PSC Merit Award (2019)
                                 Elizabeth Robinson: CBI Fellowship (2018 – 2020)
                                 Priya Brunsdon: Medicinal Chemistry and Bioanalytical Chemistry
                                 Award, 2018
                                 Ana Continho: Excellent Performance in Medicinal Chemistry, 2018
                                 Jung-Min Lee: Conrad L. Wich Prize, 2016
                                 Geoffrey Heinzl: AFPE Fellowship. 7/1/13 – 6/30/15
                                 Geoffrey Heinzl: ACS Med Chem Fellowship. 7/1/14 – 6/30/15

SERVICE ACTIVITIES
National Organization
                                 SCBA: DC-Baltimore Chapter, Treasurer (2020 – 2021)
                                 AAPS: Drug Discovery and Development Interface (DDDI) Section
                                 Abstract Screening Committee (2015 – 2018)
UMB
                                 UMB Faculty Senator (2017 – 2020)

UMB-SOP Committees
                                 Faculty Affairs Committee (2020 – 2022)
                                 Discipline and Grievance Committee (Ad Hoc, 21x) (2017 – 2022)
                                 Student Affairs Committee (2015 – 2018, 2019 – 2021)
                                 Curriculum Committee (2014 – 2015, 2022 – )
                                 Curriculum Refinement Committee, Chemistry courses (2014)

Department of Pharmaceutical Service
                                 PSC Instructor Searching Committee (2021)
                                 PSC Graduate Steering Committee (2016 – 2020)
                                 PSC Departmental Seminar Coordinator (2013 – 2020)
                                 Director of PSC High Throughput Screening Core Facility (2016 – )

Other Service
                                 Glorystar Children’s Chorus, PSA President (2021 – )
                                 Career Day Speaker, Beverly Farms ES, Potomac MD (2018)
                                 Participation in the UMB-SOP PharmD Graduation Hooding
                                 Ceremony (2017)

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                                      UMB-SOP Rho Chi Research Round-Table (2016)
                                      Participation in the UMB-SOP White Coat Ceremony (2015)
                                      Career Day Speaker, the Beverly Farms ES, Potomac (2015)
                                      UMB-SOP PharmD Research Round-Table, Baltimore (2014)
                                      UMB-SOP PharmD Research Round-Table, Shady Grove (2014)
                                      PSC PhD Recruitment Trip, Temple University (2013)
                                      PSC PhD Recruitment Trip, UMBC (2013)
                                      PSC PhD Program Recruitment Trip, Xavier University (2012)
                                      UMB Graduate Research Day Poster Judge (2012)
                                      PharmD Interview (2011 – 2018, eight times)




SCHOLARLY ACTIVITIES

Publications in Refereed Journals (* = Corresponding Author)
1. Ruan J, Liang D, Yan W, Zhong Y, Talley DC, Rai G, Tao D, LeClair CA, Simeonov A, Zhang Y,
   Chen F, Quinney NL, Boyles SE, Cholon DM, Gentzsch M, Henderson MJ, Xue F, Fang S. 2022 A
   small-molecule inhibitor and degrader of the RNF5 ubiquitin ligase. Mol. Biol. Cell 33(3):ar120. PMID:
   36074076
2. Zhang J, Li Q, Kawashima SA, Nasr M, Xue F, Zhao R. 2022. Improving drug sensitivity of HIV-1
   protease inhibitors by restriction of cellular efflux system in a fission yeast model. Pathogen 11(7):804.
   PMID: 35890048
3. Stern S, Liang D, Li L, Kurian R, Lynch C, Srilatha S, Heyward S, Zhang J, Kareen KA, Chun Y W,
   Huang R, Xia M, Charles C, Xue F, Wang H. 2022. Targeting CAR-Nrf2 improves cyclophosphamide
   bioactivation while reducing doxorubicin-induced cardiotoxicity in triple-negative breast cancer
   treatment. JCI Insight 7(12):e153868. PMID: 35579950
4. Ai Y, Sakamuru S, Imler G, Xia M, Xue F. 2022. Wnt/β-catenin signaling inhibitors with improved
   aqueous solubility and anti-leukemia activity by disrupting molecular planarity. Bioorg. Med. Chem.
   69:116890. PMID: 35777269
5. Frank A, Hamidi N, Xue F. 2022. Regioselective alkylation of 2,4-dihydroxybenzyaldehyde and 2,4-
   dihydroxyacetophenones. Tetrahedron Lett. 95:153755. PMID: 35495552
6. Robinson E, Frankenberg-Dinkel N, Xue F, Wilks A. 2021. Recombinant production of biliverdin IXb
   and d isomers in the T7 promoter compatible Escherichia coli Nissle (EcN(T7)). Front. Microbiol.
   12:787609. PMID: 34956154
7. Cai Y, Poli ANR, Vadrevu S, Gyampoh K, Hart C, Ross B, Fair M, Xue F, Salvino JM, Montaner LJ.
   2021. BCL6 BTB-specific inhibitor reversely represses T-cell activation, Tfh cells differentiation, and
   germinal center reaction in vivo. Eur. J. Immunol. 51(10):2441-2451. PMID: 34287839
8. Robinson E, Wilks A, Xue F. 2021. Repurposing acitretin as an antipseudomonal agent targeting the
   Pseudomonas aeruginosa iron-regulated heme oxygenase. Biochemistry 60(9):689-698. PMID:
   33621054
                                                                                                          12
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9. Ai Y, Hwang L, MacKerell Jr. AD, Melnick A, Xue F. 2021. Progress towards B-cell lymphoma 6
   BTB domain inhibitors for the treatment of diffuse large B-cell lymphoma and beyond. J. Med.
   Chem. 64(8):4333-4358. PMID: 33844535
10. Ruan J, Liang D, Zhong Y, Talley DC, Yan W, Gentzsch M, Rai G, Tao D, Zhang Y, Chen F,
    Henderson MJ, Xue F, Fang S. 2021. A small molecule hijacks ERAD pathway to degrade RNF5 and
    improves DF508CFTR stability and trafficking. J. Biol. Chem. submitted
11. Diethelm-Varela B, Kumar A, Lynch C, Imler G, Deschamps J, Li Y, Xia M, MacKerell Jr., AD, Xue
    F. 2021. Stereoisomerization of 6-(4-chlorophenyl)imidazo[2,1-b][1,3]thiazole-5-carbaldehyde-O-
    (3,4-dichlorobenzyl)oxime (CITCO). Tetrahedron 79:131886. (Cover Article)
12. Li S, Zhao J, Huang R, Travers J, Klumpp-Thomas C, Yu W, MacKerell A, Xue F, Sipes NS, Hsieh J,
    Ryan K, Simeonov A, Santillo MF, Xia M, 2021. Profiling the Tox21 chemical collection for
    acetylcholinesterase inhibition. Environ. Health Perspect. 129(4):047008. PMID: 33844597
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    Anticancer Agents” Pat. # US 9,943,506, issued date, April 17.
15. Silverman RB, Xue F. 2014 “Chiral Pyrrolidine Core Compounds en route to Inhibitors of Nitric
    Oxide Synthase Inhibitors.” Pat. Appl. # US 8,389,731 B2, issued date: April 15.
16. Yang S, Meyskens FL, Silverman RB, Xue F, Poulos TL, 2014 “Preparation of pyrrolidinyl
    compounds as nNOS inhibitors for the therapy and prevention of human melanoma.” Pat. Appl. # US
    8,642,282, issued date: Feb 4.
17. Seto CT, Xue F. 2009 “Fluorogenic Substrates for Protein Phosphatases and Assay Incorporating the
    Substrates.” Pat. Appl. WO2009064359.
18. Silverman RB, Xue F. 2010 “Potent and Selective Neuronal Nitric Oxide Synthase Inhibitors with
    Improved Membrane Permeability.” Pat. # US 12,693,196, issued date: Jan 25.
19. Silverman RB, Xue F. 2015 “Aminopyridine Dimer Compounds, Compositions and Related Methods
    for Neuronal Nitric Oxide Synthase Inhibition.” Pat. # US 8,932,842 B2, issued date: Jan 13.
20. Silverman RB, Xue F. 2015 “Intramolecular Hydrogen Bonding: A Strategy for Designing
    Bioavailable Inhibitors for Neuronal Nitric Oxide Synthase.” Pat. # US 8,927,730 B2, issued date:
    Jan 6.

Conference Presentations/Abstracts
1. Xue, F. 2022 “Pseudomonas aeruginosa heme sensing and utilization inhibitors targeting HasAp and
   HemO”. Gordon Research Conferences: Tetrapyrroles, Newport RI, July 17-22.
2. Ai, Y, Xue F. 2020 “YW2065 with dual activities of Wnt/β-catenin inhibition and AMPK activation
   for colorectal cancer” ACS National Meeting, San Francisco (virtual meeting), CA, Aug. 17-20.
3. Xue F. 2020 “Developing DL5055 as an enhancer for cyclophosphamide-based chemotherapeutics”
   ACS National Meeting, San Francisco (virtual meeting), CA, Aug. 17-20.
4. Diethelm-Varela B, Xue F. 2020 “Stereoisomerization of the human CAR activator CITCO
   complicates its use as a reference ligand” ACS National Meeting, San Francisco (virtual meeting),
   CA, Aug. 17-20.
5. Robinson E, Wilks A, Xue F. 2020 “Discovery and characterization of retinoic acid derivatives as
   inhibitors against Pseudomonas aeruginosa heme oxygenase” ACS National Meeting, San Francisco
   (virtual meeting), CA, Aug. 17-20.
6. Centola G, Deredge DJ, Hom K, Dent AT, Ai Y, Wilks A, Xue F. 2020 “Development of
   metallotherapeutics targeting Pseudomonas aeruginosa heme sensing and iron acquisition pathways”
   ACS National Meeting, San Francisco (virtual meeting), CA, Aug. 17-20.
7. Wang Y, Ai Y, Xue F, Hummon A. 2020 “MALD-MSI Evaluation of Penetration of Different
   Pyrazole-based Compounds into Multicellular Tumor Spheroids” ASMS.


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8. Sistani-Khanaman F, Ai Y, Shapiro P, Xue F. 2020 “Enhancing tumor selectivity of 6-mercaptopurine
   using a reactive oxygen species-activated prodrug approach” APhA2020.
9. Vetrie D, Bugler J, Liu W, Michell R, Kinstrie R, Xue F, Melnick A, Copland M, Scott M. 2020
   “Dual EZH2 and BCL6 inhibition targets CML stem cells via a gene network co-regulated with c-
   Myc” EHA-3000.
10. Robinson, E., Wilks, A.; Xue, F. “Identification and characterization of inhibitors of the Pseudomonas
    aeruginosa heme oxygenase”. Gordon Research Conferences: Tetrapyrroles, Spain, 2019.
11. Centola, G.; Xue, F. Wilks A. “Heme Sensing Inhibitors in Pseudomonas aeruginosa with
    Metallosalophen Complexes”. Gordon Research Conferences: Tetrapyrroles, Spain, 2019.
12. Ai, Y.; Obianom, O.; Shu, Y.; Xue, F.; “Reactive Oxygen Species (ROS) Triggered 5-Fluorouracil
    Prodrugs” 255th ACS National Meeting, New Orleans, LA, Mar. 18-22, 2018.
13. Liang, D.; Li, L.; Wang, H.; Xue, F. “Human CAR Activators as Sensitizers of Cyclophosphamide-
    Based Treatment for Lymphomas” 255th ACS National Meeting, New Orleans, LA, Mar. 18-22, 2018.
14. Centola, G.; Jiang, W.; Hom, K.; Wilks, A.; Xue, F. “Identification of Inhibitors of the Pseudomonas
    aeruginosa HasAp/HasR Protein-Protein Interaction” 255th ACS National Meeting, New Orleans, LA,
    Mar. 18-22, 2018.
15. Robinson, E.; Liang, D.; Mourino, S.; Xue, F.; Wilks, A. “High Throughput in vivo Screening Assay
    for Novel Inhibitors of Extracellular Heme Sensing and Utilization in Pseudomonas aeruginosa”
    255th ACS National Meeting, New Orleans, LA, Mar. 18-22, 2018.
16. Cai, Y.; Abdel-Mohsen, M.; Tomescu, C.; Fair, M.; Azzoni, L.; Papasawas, E.; Xue, F.; Sun, J.;
    Romberg, N. D.; Coz, C. L.; Montaner, L. J. “Bcl6 inhibition represses THF/non-THF HIV infection
    and T-cell/myeloid activation” Conference on Retroviruses and Opportunistic Infections, Boston,
    Massachusetts, Mar. 4-7, 2018.
17. Gresely, B. P.; Xue, F.; Ai, Y.; Barasoain, I.; Perez, F.; Cerchetti, L. “Development of a Novel Class
    of Microtubule Destabilizing Agents with Selectivity Against Diffuse Large B-Cell Lymphoma
    (DLBCL) with B-Cell Receptor (BCR) Activation” The 59th ASH Annual Meeting and Exposition,
    Atlanta, Georgia , Dec. 9-12, 2017.
18. Cai, Y.; Tomescu, C.; Abdel-Mohsen, M.; Fair, M.; Azzoni, L.; Papasavvas, E.; Xue, F.; Sun, J.;
    Romberg, N. D.; Coz, C. L.; Montaner, L. J. “Bcl6 inhibition represses HIV infection ex vivo by
    suppression of immune activation: Implication for viral clearance in the secondary lymphoid tissue of
    HIV-infected patients undergoing ART treatment” The 50th SLB Annual Meeting, Vancouver,
    Canada, Oct 4-7, 2017.
19. Robinson, E.; Heinzl, G.; Liang, D.; Hom, K.; Wilks, A.; Xue, F. “Inhibition of the Pseudomonas
    aeruginosa heme oxygenase” 254th ACS National Meeting, Washington, DC, Aug. 20-24, 2017.
20. Nguyen, N.; Liang, D.; Yu, W.; Deschamps, J. R.; Imler, G. H.; Li, Y.; MacKerell, Jr., A. D.; Xue, F.
    “Iodobenzene-Catalyzed Synthesis of Phenanthridiones via Oxidative C-H Amidation” 254th ACS
    National Meeting, Washington, DC, Aug. 20-24, 2017.
21. Coutinho, A. L.; Obianom, O. N.; Yang, W.; Shu, Y.; Xue, F. “Biguanides Enhance Drug Uptake by
    Organic Cation Transporters” 254th ACS National Meeting, Washington, DC, Aug. 20-24, 2017.


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22. Ai, Y.; Yang, W.; Li, Y.; Shu, Y.; Xue, F. “Wnt/β-catenin Inhibitors for the Treatment of Colorectal
    Cancer” 254th ACS National Meeting, Washington, DC, Aug. 20-24, 2017.
23. Jiang, C.; Yang, C.; Cheng, G.; Huang, B.; Xue, F. “Metal-Free Regioselective Construction of
    Indolin-3-ones via Hypervalent Iodine Oxidation of N-Substituted Indoles” 254th ACS National
    Meeting, Washington, DC, Aug. 20-24, 2017.
24. Xue, F. “Anti-Parasitics by Targeting the Heme Transporters LHR1” Gordon Research Conferences:
    Tetrapyrroles, Newport RI, July 17-21, 2016.
25. Xue, F. “Benzimidoguanidines as Allosteric Inhibitors of the Iron-Regulated Heme Oxygenase
    (HemO) of Pseudomonas aeruginosa” Gordon Research Conferences: Tetrapyrroles, Andover NH,
    June 26 – July 1, 2016.
26. Johnson, C.; Liang, D.; Yuan, X.; Hamza, I.; Xue, F. “Antiparasitic agents targeting LHR1”252nd
    ACS National Meeting, Philadelphia, PA, Aug. 21-25, 2016.
27. Cheng, H.; Xue, F. “BCL6 BTB Domain Inhibitors for DLBCLs”252nd ACS National Meeting,
    Philadelphia, PA, Aug. 21-25, 2016.
28. Heinzl, G.; Wilks, A.; Xue, F.; “HemO inhibitors as antivirulence” Gordon Research Conferences,
    August 1-5, 2015.
29. Kassab, S. E.; Yu, W.; MacKerell, A.; Xue, F. “Small Molecule Inhibitors of the BCL6 BTB Domain
    for DLBCLs” 248th ACS National Meeting, San Francisco, CA, August. 10-14, 2014.
30. Rai, R.; Xue, F.; MacKerell, A.; Lakkaraju, S. K. “Synthesis and Evaluation of Protein Tyrosine
    Phosphatase Inhibitors by Targeting a Novel Allosteric Site” 248th ACS National Meeting, San
    Francisco, CA, August. 10-14, 2014.
31. Cardenas, M.; Yu, W.; Zhu, S.; Cerchietti, L.; Melnick, A.; MacKerell, A. D.; Xue, F. “Targeting B-
    Cell Lymphoma 6 (BCL6) for the Treatment of Diffuse Large B-Cell Lymphomas (DLBCLs)” 246th
    ACS National Meeting, Indianapolis, IN, Sept. 8-12, 2013.
32. He, X.; Hanscom, M.; Stoica, B.; MacKerell, A. D.; Faden, A. I.; Xue, F. “Centrally Active Positive
    Allosteric Modulators (PAMs) of Metabotropic Glutamate Receptor 5 (mGluR5) for Traumatic Brain
    Injury (TBI)” 246th ACS National Meeting, Indianapolis, IN, Sept. 8-12, 2013.
33. Heinzl, G.; Hom, K.; Lopez, P.; MacKerell, A. D.; Wilks, A.; Xue, F. “Inhibitors of Iron-regulated
    heme oxygenase (HemO) of Pseudomonas aeruginosa as Novel Antivirulant Agents” 245th ACS
    National Meeting, New Orleans, LA, April. 7-11, 2013.
34. Xue, F.; Mbatia, H.; MacKerell, A. D., Jr.; “Highly-Efficient Method to Isatinylidenerhodanine
    Formation: Synthesis and Mechanistic Studies ”244th ACS National Meeting, Philadelphia, PA, Aug.
    19-23, 2012.
35. Nagarajan, S.; Xue, F.; MacKerell, A. D., Jr.; “Charge Dependent Behavior of Substrate Arginine in
    the Arginase I Environment ”244th ACS National Meeting, Philadelphia, PA, Aug. 19-23, 2012.
36. Xue, F.; “Positive Allosteric Modulators of the Metabotropic Glutamic Receptor 5 for Traumatic
    Brain Injury” NIH GM Workshop, Dallas, May 6-9, 2012.
37. Xue, F.; “Development of Novel Inhibitors of Neuronal Nitric Oxide Synthase for the Treatment of
    Neurodegenerative Diseases.” Symposium on Nitric Oxide and Other Gaseous Neurotransmitters,
    Toronto, Canada, May 27-28, 2010 (invited talk).


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38. Xue, F.; “Neuronal Nitric Oxide Synthase Inhibitors as Drug Candidates for Neurodegenerative
    Diseases.” Southern Louisiana Symposium of Chemistry, Lake Charles, LA, Sept 25, 2009.
39. Xue, F.; Seto, C. T. “Development of Fluorogenic Substrate for Serine/Threonine Phosphatases.”
    Gordon Research Conferences, 2007.
40. Xue, F.; Seto, C. T. “Fluorescent Probes to Study Serine/Threonine Phosphatases.” 232th ACS
    National Meeting, San Francisco, CA, Sept. 10-14, 2006.
41. Xue, F.; Seto, C. T. “Macrocyclic Inhibitors of the Serine Protease Plasmin: Development and
    Biological Activity.” 231th ACS National Meeting, Atlanta, GA, Mar. 25-30, 2006.
42. Xue, F. Seto, C. T. “Combinatorial Library of Inhibitors for Serine Protease Plasmin: Binding
    Specificity at S3 and S3’ Subsites.” 230th ACS National Meeting, Washington, DC, Aug. 28-Sept. 1,
    2005.
43. Xue, F.; Seto, C. T. “4-Heterocyclohexanone-Based Inhibitors of Serine Protease Plasmin.” 229th
    ACS National Meeting, San Diego, CA, March 13-17, 2005.




GRANTS
Grants to PSC HTS Lab
 1. ICTR Sub         Xue (PI)                                               05/01/2020 – 04/30/2021
    The University of Maryland Baltimore County                             $15,000
    High-throughput screen to identify novel selective regulators of mutant p53 in ovarian cancer cells
    The goal of our research is to identify small molecule hits as selective regulators of mutant p53.

Active Grants to Xue Lab
 1. NEXUS Sub        Xue (PI)                                             12/1/2022 – 08/31/2023
    Johns Hopkins University                                              $30,000
    Novel Wnt Signaling Pathway Inhibitors for the Treatment of Colorectal Cancer.
    The goal of our research is to synthesize and test Wnt signaling inhibitor YA6060 as potential
    therapeutic candidates for the treatment of colorectal cancer.
 2. VA Merit Award (BX004264) Contract                                  1/1/2022 – 9/30/2022
    Project Title: “Improving the membrane permeability of LIPG inhibitors”
    $50,000 direct cost to the Xue Lab
    This research project focuses on cell-permeable prodrugs of the LIPG inhibitor XEN445.
 3. MII      Xue (co-PI)                                                  11/10/2021 – 10/10/2022
    Maryland Innovation Initiative grant
    Project Title: “Novel anti-proteotoxicity therapeutic agents targeting protein methylation:
    Applications for Neurodegenerative Diseases”
    $115,000 direct cost to the Xue Lab
    This research focuses on the synthesis and biological evaluation of novel L3MBTL1 inhibitors.
 4. MII      Xue (co-PI)                                               9/10/2021 – 7/10/2022
    Maryland Innovation Initiative grant
    Project Title: “Novel Axin Stabilizer YA6060 is a Promising Therapy for NASH”


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   This research focuses on the synthesis and biological evaluation of novel Wnt signaling inhibitor
   YA6060 for the treatemt of NASH.
5. NEXUS Sub        Xue (PI)                                            10/1/2020 – 06/30/2021
   Johns Hopkins University                                             $45,000
   Developing Novel Drugs for Therapeutic Targets in Neurodegeneration
   The goal of our research is to synthesize and test a series of UNC669 analogs as potential
   therapeutic candidates for neurodegenerative diseases.
6. NIH R21           Xue (PI)                                              1/1/2021 – 12/31/2023
   1.0 calendar
   University of Maryland Baltimore                                        $424,875
   Pseudomonas aeruginosa heme sensing inhibitors targeting HasAp
   The goal of our research is to synthesize and test a series of GaSal analogs using established assays,
   to identify, validate, and characterize potent inhibitors of heme signaling and iron homeostasis.
7. MII      Xue (PI)                                                    12/10/2020 – 11/10/2021
   Maryland Innovation Initiative grant
   Project Title: “Antipseudomonal Agent GalSal: A Dual Inhibitor of Pseudomonas aeruginosa Heme
   Sensing and Iron Uptake”
   $115,000 direct cost to the Xue Lab
   This research focuses on the synthesis and biological evaluation of novel HasAp inhibitor GalSal as
   a therapeutic agent for Pseudomonas infections.
   Role: PI
8. NSF Sub          Xue (PI)                                             06/01/2019-05/31/2023
   0.6 calendar
   The University of Texas at Austin                                     $203,385
   Developing switchable electrophiles as specific covalent protein modifiers
   The goal of our research is to develop novel selective probes that covalently modify proteins DDAH
   or BCL6 using the switchable electrophiles such as halopyridines. The availability of these probes
   will help understand the associated biochemical mechanisms and to better develop new therapeutics.
9. MII      Xue (PI)                                                 10/01/2018 – 7/31/2019
   Maryland Innovation Initiative grant
   Project Title: “YW2065 with Dual Activities of Wnt/b-catenin Inhibition and AMPK Activation for
   Colorectal Cancer (CRC)”
   $115,000 direct cost to the Xue and Shu Labs
   This research focuses on the synthesis and biological evaluation of novel Axin stabilizers as a
   therapeutic agent for CRC.
   Role: Co-PI
10. MII      Xue (Co-PI)                                              07/01/2018 – 04/30/2019
    Maryland Innovation Initiative grant
    Project Title: “Developing DL5016 as an enhancer for cyclophosphamide-based chemotherapeutics”
    $115,000 direct cost to the Xue and Wang Labs
    This research focuses on the synthesis and biological evaluation of novel hCAR activators as a
    combination agent for cyclophosphamide
    Role: Co-PI
11. Waxman_                 MacKerell (PI)                           08/01/2014 – 06/30/2024
    The Samuel Waxman Cancer Research Foundation
    Project Title: “Small molecule BCL6 BTB domain inhibitors for DLBCL”
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    $65,118 direct cost the Xue Lab
    This research centers upon the development of small molecule inhibitors of the BCL6 BTB domain
    as treatment for DLBCL
    Role: Co-I

Other Completed Grants:

 1. Center for AIDS Research         Xue (Co-PI)                            08/01/2017 – 09/30/2018
    2017 NHP Pilot Grant Program
    Project Title: “Pilot study to establish anti-Bcl-6 FX1 as an anti-HIV/SIV strategy by limiting SIV
    retention in germinal centers and replication in T follicular helper cells following ART-suppression”
    $10,000 direct cost to the Xue Lab
    This research centers upon the development of combination anti-HIV therapy using BCL6 BTB
    domain inhibitor FX1 and ART.
    Role: Co-PI

 2. LLS              Melnick (PI)                                     12/01/2015 – 11/30/2018
    Leukemia & Lymphoma Society
    Project Title: “Therapeutic targeting of the BCL6 oncoprotein”
    $410,463 direct cost to the Xue Lab
    This research centers upon the development of small molecule inhibitors of the BCL6 BTB domain
    as treatment for DLBCL
    Role: Co-I

 3. 1R41AI113998-01A1                 Xue (PI, subcontract)                 04/01/2015 – 03/31/2019
    NIH
    Project Title: “Selective inhibitors of heme transporters as antiparasitic agents”
    $137,256 direct cost the Xue Lab
    This research centers upon the development of small molecule antagonists of the heme transporters
    as treatment for parasitic diseases
    Role: Sub-award PI

 4. AACR Career Development Awards 00167155              Xue (PI)       12/01/2015 – 11/30/2017
    American Association for Cancer Research
    Project Title: “BCL6 BTB domain inhibitors for triple-negative breast cancer”
    $138,000 direct cost to the Xue Lab
    This research centers upon the development of small molecule inhibitors of the BCL6 BTB domain
    as treatment for breast cancer
    Role: PI

 5. UM Ventures Xue (PI)                                                 05/16/2016 – 05/15/2017
    UM Venture Seed Grant Program
    Project Title: “WNT signaling pathway inhibitors for treatment of diseases”
    $15,000 direct cost the Xue Lab
    This research centers upon the development of small molecule WNT inhibitors domain with improved
    aqueous solubility
    Role: PI

 6. ENABLE_              Wilks (PI)                                      08/01/2014 – 07/31/2015
    European Gram-negative Antibacterial Engine Program
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     Project Title: “Heme utilization by gram negative pathogens”
     This research centers upon the development of small molecule inhibitors of the bacterial HemO as
     treatment for bacterial infections
     Role: Co-I

 7. Janssen Research Grant         Melnick (PI)                       09/01/2014 – 08/31/2015
    Janssen Pharmaceutics
    Project Title: “Small molecule BCL6 BTB domain inhibitors”
    $41,608 direct cost the Xue Lab
    This research centers upon the development of small molecule inhibitors of the BCL6 BTB domain
    as treatment for DLBCL
    Role: Co-I

 8. LRF Research Grant             Xue (PI)                              07/01/2014 – 06/30/2015
    Leukemia Research Foundation Research Grant
    Project Title: “Small molecule BCL6 inhibitors for diffuse large B-cell lymphoma (DLBCL)”
    $100,000 direct cost the Xue Lab
    This research centers upon the development of small molecule inhibitors of the BCL6 BTB domain
    as treatment for DLBCL
    Role: PI

 9. IDR_224-13 2013                   Xue (PI)                           07/01/2013 – 06/30/2015
    University of Maryland Pilot and Exploratory Interdisciplinary Research (IDR) Award
    Project Title: “Positive allosteric modulators (PAMs) of metabotropic glutamate receptor 5 (mGluR5)
    for traumatic brain injury (TBI)”
    $75,000 direct cost the Xue Lab
    This research centers upon the development of small molecule PAMs of mGluR5 as delayed treatment
    of TBI
    Role: PI

 10. ACS-IRG 10009632                Xue (PI)                            03/01/2012 – 02/28/2013
     American Cancer Society Institutional Research Grant (ACS-IRG)
     Project Title: “Development of novel Kaiso inhibitors as drug candidates for human colon cancer”
     $30,000 direct cost the Xue Lab
     This research focuses on the development of small molecule inhibitors of Kaiso as a novel strategy to
     treat human colon cancer
     Role: PI

 11. mGluR5           Faden (PI)                                           09/01/2011 – 08/31/2013
     University of Maryland School of Medicine
     Project Title: “Development of mGluR5 activators as drug candidates for traumatic brain injury”
     $150,000 direct cost the Xue Lab
     This research focuses on the development of small molecule activators of the metabotropic glutamate
     receptor 5 (mGluR5) as potential treatment of traumatic brain injury (TBI)
     Role: Co-I

Grants/Fellowships to Graduate Students:

 1. Garrick Centola: PSC Fellowship Award. 9/1/20 – 8/31/21
 2. Elizabeth Robinson: CBI Fellowship. 7/1/19 – 6/30/21
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 3. Geoffrey Heinzl: AFPE Fellowship. 7/1/13 – 6/30/15
 4. Geoffrey Heinzl: ACS MedChem Fellowship. American Chemical Society. 07/1/14 – 6/30/15


CURRENT COLLABORATORS

UMB Collaborators

1. Alexander MacKerell: BCL6 inhibitors, HemO inhibitors, HasAp inhibitors, hCAR activators

2. Angela Wilks: HemO inhibitors, HasAp inhibitors

3. Yan Shu: Axin stabilizers, 5FU prodrugs

4. Hongbing Wang: hCAR activators, Nrf2 activators

5. James Polli: Bile acid drug-delivery systems

6. Iqbal Hamza (UMB-SOM): heme transporter inhibitors

7. Richard Zhao (UMB-SOM): HTS in drug development



External Collaborators

1. Ari Melnick (Cornell): BCL6 inhibitors

2. Menghang Xia (NCATS): Wnt inhibitors, hCAR activators, AChE inhibitors

3. Walt Fast (UT Austin): p-halopyridines

4. Dali Li (Loyola University at Chicago): covalent BCL6 inhibitors

5. Bill Lanzilotta (Georgia): Aza-Sam derivatives

6. Leandro Cerchiette (Cornell): Tubulin inhibitors, BCL6 inhibitors for lung cancer

7. Jiou Wang (JHU): Small molecule therapeutics for neurodegenerative diseases

8. Fengyi Wan (JHU): Wnt inhibitors

9. Qun Zhou (VA): LIPS inhibitors

10. Bin Gao (NIAAA): Hepatoselective ALDH2 inhibitors




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